USCA Case #18-3052     Document #1753195           Filed: 09/28/2018   Page 1 of 71



        [ORAL ARGUMENT SCHEDULED ON NOVEMBER 8, 2018]
                         No. 18-3052


            IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT


                   IN RE: GRAND JURY INVESTIGATION


                              ANDREW MILLER,

                                             Appellant,

                                        v.

                       UNITED STATES OF AMERICA,

                                             Appellee.


   On Appeal from the United States District Court for the District of Columbia


                     BRIEF FOR THE UNITED STATES


                                             ROBERT S. MUELLER, III
                                              Special Counsel
                                             MICHAEL R. DREEBEN
                                             JEANNIE S. RHEE
                                             ADAM C. JED
                                              U.S. Department of Justice
                                              Special Counsel’s Office, Rm. B-103
                                              950 Pennsylvania Avenue NW
                                              Washington, D.C. 20530
                                              (202) 616-0800
                                              special.counsel@usdoj.gov
USCA Case #18-3052        Document #1753195            Filed: 09/28/2018     Page 2 of 71



     CERTIFICATE OF PARTIES, RULINGS, AND RELATED CASES

      A. Parties and Amici

      The appellant is Andrew Miller. The appellee is the United States of America.

Concord Management and Consulting LLC is participating as an amicus curiae in this

appeal.

      B. Rulings Under Review

      The witness-appellant is appealing from an August 10, 2018 contempt order

issued by Chief Judge Beryl A. Howell, United States District Court for the District of

Columbia, in Case No. 18-gj-34. ECF No. 36. The order is reprinted in Appellant’s

Appendix B and is unpublished. The district court’s related July 31, 2018 opinion

denying the witness’s motion to quash is reprinted in Appendix C and is published at

315 F. Supp. 3d 602 (D.D.C. 2018).

      C. Related Cases

      This case has not previously been before this Court or any other court. The

merits issue presented by this appeal was addressed in United States v. Concord Management

and Consulting LLC, No. 18-cr-32-2 (D.D.C.), appeal docketed, No. 18-3061 (D.C. Cir.),

appeal dismissed Sept. 17, 2018. That opinion can be found at 317 F. Supp. 3d 598

(D.D.C. 2018).
USCA Case #18-3052                  Document #1753195                              Filed: 09/28/2018                 Page 3 of 71



                                       TABLE OF CONTENTS

                                                                                                                               Page

CERTIFICATE AS TO PARTIES, RULINGS,
AND RELATED CASES
STATEMENT OF THE ISSUES.............................................................. 1
PERTINENT STATUTES AND REGULATIONS .................................. 2
STATEMENT OF THE CASE ................................................................ 2
     A.    Statutory And Regulatory Framework................................................................ 2
     B.    The Special Counsel’s Appointment And Jurisdiction ..................................... 3
     C.    The Present Controversy ..................................................................................... 5
SUMMARY OF ARGUMENT ................................................................. 6
ARGUMENT .......................................................................................... 9
     I.    The Special Counsel Is An Inferior Officer Under The Appointments
           Clause ...................................................................................................................... 9
           A.      An inferior officer is one who reports to and is supervised by a
                   superior officer............................................................................................ 10
           B.      The Special Counsel reports to and is supervised by the Acting
                   Attorney General and is therefore an inferior officer ............................ 12
                   1.      The Special Counsel is subject to supervision and oversight ....... 13
                   2.      The Special Counsel is removable by the Attorney General ........ 18
                   3.      The Special Counsel’s decision-making authority is subject
                           to review and correction ................................................................... 21
                   4.      The Attorney General retains authority to revoke the Special
                           Counsel regulation ............................................................................. 22
           C.      Precedent forecloses Miller’s principal-officer argument ...................... 26
USCA Case #18-3052                   Document #1753195                            Filed: 09/28/2018                 Page 4 of 71



     II.    The Attorney General Has Statutory Authority To Appoint The
            Special Counsel .................................................................................................... 30
            A.      Precedent establishes the Attorney General’s appointment
                    authority ....................................................................................................... 30
            B.      Multiple statutes establish the Attorney General’s authority ................ 35
                    1.      The text of two statutes grants the Attorney General power
                            to appoint special counsels ............................................................... 35
                    2.      Section 515’s history confirms that it provides appointment
                            power ................................................................................................... 41
     III. The Acting Attorney General Had Authority To Appoint The Special
          Counsel ................................................................................................................. 45
CONCLUSION ..................................................................................... 50
CERTIFICATE OF COMPLIANCE
CERTIFICATE OF SERVICE
ADDENDUM




                                                                ii
  USCA Case #18-3052                   Document #1753195                       Filed: 09/28/2018             Page 5 of 71



                                      TABLE OF AUTHORITIES *

                                                                                                                   Page(s)

   Cases
   Auer v. Robbins, 519 U.S. 452 (1997) .................................................................................... 20
   Bennett v. United States, 285 F.2d 567 (5th Cir. 1960).......................................................... 49
   Bowsher v. Synar, 478 U.S. 714 (1986) ................................................................................... 19
   Buckley v. Valeo, 424 U.S. 1 (1976).................................................................................. 10, 39
   Burnap v. United States, 252 U.S. 512 (1920) ........................................................................ 34
   Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402 (1971) .................................... 25
   Connecticut Nat’l Bank v. Germain, 503 U.S. 249 (1992)....................................................... 45
   CTS Corp. v. EPA, 759 F.3d 52 (D.C. Cir. 2014) ............................................................... 40
   Department of Transp. v. Association of Am. R.R., 135 S. Ct. 1225 (2015) ......................... 35
   Drake v. FAA, 291 F.3d 59 (D.C. Circ. 2002) .................................................................... 25
   *Edmond v. United States, 520 U.S. 651 (1997)............................................. 7, 11, 15, 16, 17,
                                                                                                 21, 22, 34, 38
   Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117 (2016) ................................................. 24
   Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477 (2010) ................... 12, 20
   Freytag v. Commissioner, 501 U.S. 868 (1991) ........................................................................ 20
   Go-Bart Importing Co. v. United States, 282 U.S. 344 (1931) ................................................. 21
   Heckler v. Chaney, 470 U.S. 821 (1985) ................................................................................. 25
   Henson v. Santander Consumer USA Inc., 137 S. Ct. 1718 (2017) ........................................ 36




* Authorities upon which we chiefly rely are marked with asterisks.

                                                               iii
USCA Case #18-3052                  Document #1753195                        Filed: 09/28/2018              Page 6 of 71



In re Persico, 522 F.2d 41 (2d Cir. 1975) ...................................................................41, 42, 43
*In re Sealed Case, 829 F.2d 50 (D.C. Cir. 1987)...............................8, 22, 23, 24, 25, 26, 27
                                                                                  29, 30, 32, 33, 34, 35
In re Sealed Case, 838 F.2d 476 (D.C. Cir. 1988).................................................................. 22
In re United States, 614 F.3d 661 (7th Cir. 2010) ................................................................. 49
*Intercollegiate Broad. Sys., Inc. v. Copyright Royalty Bd.,
  684 F.3d 1332 (D.C. Cir. 2012) ................................................................. 7, 12, 13, 17, 20
Keyser v. Hitz, 133 U.S. 138 (1890) ....................................................................................... 45
Lucia v. SEC, 138 S. Ct. 2044 (2018) ............................................................................ 10, 39
Marbury v. Madison, 5 U.S. (1 Cranch) 137 (1803) .............................................................. 36
Moog Inc. v. United States, 1991 WL 46518 (W.D.N.Y. Apr. 1, 1991)................................. 48
Morrison v. Olson, 487 U.S. 654 (1988) ...................... 3, 8, 10, 11, 19, 20, 22, 27, 28, 29, 39
Myers v. United States, 272 U.S. 52 (1926)............................................................................. 21
NAACP v. Trump, 298 F. Supp. 3d 209 (D.D.C. 2018)..................................................... 26
Nader v. Bork, 366 F. Supp. 104 (D.D.C. 1973) .................................................................. 23
Noel Canning v. NLRB, 705 F.3d 490 (D.C. Circ. 2013) .................................................... 47
Ortiz v. United States, 138 S. Ct. 2165 (2018)....................................................................... 39
OSG Bulk Ships v. United States, 132 F3d 808 (D.C. Circ. 1998)....................................... 26
Pennsylvania Dep't of Corr. v. Yeskey, 524 U.S. 206 (1998) ................................................... 39
PHH Corp. v. Consumer Fin. Prot. Bureau, 881 F.3d 75 (D.C. Cir. 2018) ........................... 28
Rodriguez de Quijas v. Shearson/American Express, Inc., 490 U.S. 477 (1989) ...................... 28
Ross v. Blake, 136 S. Ct. 1850 (2016).................................................................................... 42
Ryan v. United States, 136 U.S. 68 (1890) .............................................................................. 46
Shaw v. United States, 137 S. Ct. 462 (2016) ......................................................................... 38


                                                             iv
USCA Case #18-3052                Document #1753195                      Filed: 09/28/2018            Page 7 of 71



United States v. Armstrong, 517 U.S. 456 (1996) ................................................................... 26
United States v. Chemical Foundation, 272 U.S. 1 (1926) ........................................................ 15
United States v. Concord Mgmt. & Consulting LLC,
 317 F. Supp. 3d 598 (D.D.C. 2018) ...........................6, 15, 16, 20, 23, 26, 27, 33, 37, 39
United States v. Crosthwaite, 168 U.S. 375 (1897) .................................................................. 41
United States v. Eaton, 169 U.S. 331 (1898) .................................................................... 29, 39
United States v. Fields, 699 F.3d 518 (D.C. Cir. 2012) .......................................................... 32
United States v. Fortuna, 2013 WL 1737215 (D.N.J. Apr. 22, 2013)................................... 40
United States v. Gantt, 194 F.3d 987 (9th Cir. 1999)............................................................ 21
United States v. Guzek, 527 F.2d 522 (8th Cir. 1975) .......................................................... 47
United States v. Hall, 171 F.3d 1133 (8th Cir. 1999) ........................................................... 49
United States v. Hasan, 846 F. Supp. 2d 541 (E.D. Va. 2012) ............................................. 40
United States v. Hasarafally, 529 F.3d 125 (2d Cir. 2008) .................................................... 47
United States v. Hilario, 218 F.3d 19 (1st Cir. 2000) ...................................................... 17, 21
United States v. Jaramillo, 745 F.2d 1245 (9th Cir. 1984) ..................................................... 49
United States v. Libby, 429 F. Supp. 2d 27 (D.D.C. 2006) ............................................. 28, 49
United States v. Manafort, 2018 WL 3126380 (E.D. Va. June 26, 2018) ................14, 15, 27
United States v. McCoy, 515 F.2d 962 (5th Cir. 1975) .......................................................... 47
*United States v. Nixon, 418 U.S. 683 (1974) ......................... 3, 8, 13, 22, 27, 30, 31, 32, 35
United States v. Pellicci, 504 F.2d 1106 (1st Cir. 1974) ......................................................... 47
United States v. Perkins, 116 U.S. 483 (1886) .................................................................. 19, 20
United States v. Rosenthal, 121 F. 862 (C.C.S.D.N.Y. 1903) ................................................. 42
United States v. Sartori, 730 F.2d 973 (4th Cir. 1984) .......................................................... 49
United States v. Verdugo-Urquidez, 494 U.S. 259 (1990) ....................................................... 32

                                                          v
USCA Case #18-3052                      Document #1753195                            Filed: 09/28/2018                Page 8 of 71



United States v. Winston, 170 U.S. 522 (1898)....................................................................... 42


Constitutional Provisions
*U.S. Const. Art. II, § 2, cl. 2....................................................................................... 6, 9, 10


Statutes
5 U.S.C. § 301 .............................................................................................................. 3, 25, 29
5 U.S.C. § 553(a)(2) ......................................................................................................... 23, 24
5 U.S.C. § 701(a)(2) ............................................................................................................... 25
5 U.S.C. § 3345 ...................................................................................................................... 47
5 U.S.C. § 3347(a)(1)(B)........................................................................................................ 47
18 U.S.C. § 201(a)(1) ............................................................................................................. 39
26 U.S.C. § 7443(f) ................................................................................................................ 20
28 U.S.C. § 503 .................................................................................................................. 2, 35
28 U.S.C. § 508 .....................................................................................4, 9, 46, 47, 48, 49, 50
28 U.S.C. § 509 ......................................................................................... 2, 13, 25, 29, 33, 35
28 U.S.C. § 510 ......................................................................................... 2, 13, 25, 29, 33, 35
28 U.S.C. § 515 ..................................................................................................... 8, 29, 33, 35
28 U.S.C. § 515(a) ..................................................................................... 2, 25, 36, 37, 38, 41
*28 U.S.C. § 515(b) ...........................................................2, 8, 30, 34, 35, 36, 37, 40, 41, 42
28 U.S.C. § 516 ........................................................................................................................ 2
28 U.S.C. § 528 ................................................................................................................ 46, 50
*28 U.S.C. § 533 ................................................................2, 8, 30, 31, 34, 35, 37, 38, 39, 40
28 U.S.C. § 541(a) .................................................................................................................. 22


                                                                   vi
USCA Case #18-3052                      Document #1753195                           Filed: 09/28/2018                Page 9 of 71



28 U.S.C. § 546(a) .................................................................................................................. 22
28 U.S.C. § 546(d) ................................................................................................................. 22
28 U.S.C. § 547 ................................................................................................................ 21, 40
28 U.S.C. §§ 591-599 (expired) .............................................................................................. 3
49 U.S.C. § 323(a) .................................................................................................................. 38
Act of Apr. 17, 1930, Pub. L. No. 71-133, 46 Stat. 170 .................................................. 43
Act of Aug. 2, 1861, ch. 37, 12 Stat. 285 ........................................................................... 22
Act of Aug. 30, 1890, ch. 837, 26 Stat. 371 ....................................................................... 43
Act of Feb. 25, 1903, Pub. L. No. 57-115, 32 Stat. 854 ................................................... 43
Act of June 25, 1948, Pub. L. No. 80-773, § 3, 62 Stat. 869 ........................................... 43
Act of June 3, 1948, Pub. L. 80-597, 62 Stat. 305 ............................................................ 43
Act of Mar. 3, 1891, ch. 542, 26 Stat. 948 ......................................................................... 43
Act of Mar. 3, 1901, ch. 853, 31 Stat. 1133 ....................................................................... 43
Act of Mar. 4, 1921, Pub. L. No. 66-389, 41 Stat. 1367 .................................................. 43
Act to establish the Department of Justice, ch. 150, 16 Stat. 162 (1870) ............... 41, 48
Ethics in Government Act of 1978, Pub. L. No. 95-521, §§ 601-602,
  92 Stat. 1824 ...................................................................................................................... 44
First Judiciary Act, 1 Stat. 73 (1789)................................................................................... 22
Payne-Aldrich Tariff Act of 1909, Ch. 6, § 28, 36 Stat. 11 ....................................... 44, 45
S.J. Res. No. 54, Feb. 8, 1924, 43 Stat. 5 ............................................................................. 44


Rules
Fed. R. Crim. P. 25(a)(1)....................................................................................................... 49




                                                                  vii
USCA Case #18-3052                    Document #1753195                            Filed: 09/28/2018               Page 10 of 71



Regulations and Administrative Materials
28 C.F.R. § 0.15(a)................................................................................................................... 4
28 C.F.R. § 45.2(a)................................................................................................................. 46
28 C.F.R. §§ 600.1-600.10 ...................................................................................................... 3
28 C.F.R. § 600.1 ................................................................................................................... 38
28 C.F.R. § 600.4(a)...................................................................................................14, 18, 27
28 C.F.R. § 600.4(b) ..................................................................................................14, 18, 27
28 C.F.R. § 600.5 ................................................................................................................... 18
28 C.F.R. § 600.6 ................................................................................................................... 22
28 C.F.R. § 600.7(a)......................................................................................................... 14, 18
28 C.F.R. § 600.7(b) ............................................................................... 13, 14, 15, 17, 21, 27
28 C.F.R. § 600.7(c)............................................................................................................... 18
28 C.F.R. § 600.7(d) ........................................................................................... 17, 19, 20, 27
28 C.F.R. § 600.8(a)(1) .......................................................................................................... 18
28 C.F.R. § 600.8(a)(2) .................................................................................................... 18, 19
28 C.F.R. § 600.8(b) .............................................................................................................. 14
28 C.F.R. § 600.8(c)............................................................................................................... 27
Office of Special Counsel, 64 Fed. Reg. 37,038 (July 9, 1999).................. 3, 13, 15, 20, 23, 24


Legislative Materials
H.R. Rep. No. 229, 71st Cong., 2d. Sess. (1930) ............................................................... 43
H.R. Rep. No. 2901, 59th Cong., 1st. Sess. (1906)............................................................ 42
S. Rep. No. 250, 105th Cong., 2d Sess. (1998) .................................................................. 47



                                                                 viii
USCA Case #18-3052                    Document #1753195                          Filed: 09/28/2018                Page 11 of 71



Other Authorities
Acting Officers, 6 Op. O.L.C. 119 (1982) .............................................................................. 45
Application of Conflict of Interest Rules to the Conduct of Government
 Litigation by Private Attorneys, 4B Op. O.L.C. 434 (1980) ............................................... 44
Assignment of Army Lawyers to the Department of Justice, 10 Op. O.L.C. 115 (1986) ......... 44
Attorney General Jeff Sessions Prepared Remarks to the United States
  Senate Select Committee on Intelligence (June 13, 2017), available at
  https://www.justice.gov/opa/speech/attorney-general-jeff-sessions-
  prepared-remarks-united-states-senate-select-committee ........................................... 46
Black’s Law Dictionary (10th ed. 2014) .....................................................................35, 46, 47

Congressional Subpoenas of Department of Justice Investigative Files,
  8 Op. O.L.C. 252 (1984)................................................................................................... 49
H. Campbell Black, A Dictionary of Law (1st ed. 1891).................................................... 43
Justice Manual, available at
  https://www.justice.gov/usam/united-states-attorneys-manual................................ 14

Merriam-Webster’s Dictionary Online, available at
 https://www.merriam-webster.com/dictionary/disability) ........................................ 47
Naval Court-Martial, 18 Op. Att’y Gen. 135 (1885) ........................................................... 44
Office of the Deputy Att’y Gen., Order No. 3915-2017,
 Appointment of Special Counsel to Investigate Russian Interference with the
 2016 Presidential Election and Related Matters, May 17, 2017, available at
 https://www.justice.gov/opa/press-release/file/967231/download .............. 4, 13, 27

Oxford English Dictionary Online,
 available at http://www.oed.com/view/Entry/53381 .................................................. 48
P. Peters, The Cambridge Guide to English Usage (2004) ....................................................... 36
Press Release, Attorney General Sessions Statement on Recusal (Mar. 2, 2017),
  available at https://www.justice.gov/opa/pr/attorney-general-sessions-
  statement-recusal. ............................................................................................................... 4



                                                                 ix
USCA Case #18-3052                Document #1753195                      Filed: 09/28/2018            Page 12 of 71



Statement of FBI Director James B. Comey, H. Perm. Select Comm. on
  Intelligence, Hearing on Russian Active Measures Investigation (Mar. 20, 2017),
  available at https://www.fbi.gov/news/testimony/hpsci-hearing-titled-
  russian-active-measures-investigation. ............................................................................. 4

United States Attorneys—Suggested Appointment Power of the Attorney General—
 Constitutional Law (Article II, § 2, cl. 2), 2 Op. O.L.C. 58 (1978) ................................... 21




                                                           x
USCA Case #18-3052      Document #1753195          Filed: 09/28/2018   Page 13 of 71



                                   No. 18-3052


             IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


                    IN RE: GRAND JURY INVESTIGATION


                               ANDREW MILLER,

                                              Appellant,

                                         v.

                        UNITED STATES OF AMERICA,


                                              Appellee.


    On Appeal from the United States District Court for the District of Columbia


                     BRIEF FOR THE UNITED STATES


                      STATEMENT OF THE ISSUES

   1. Whether the Special Counsel is an inferior officer under the Constitution’s

      Appointments Clause.

   2. Whether the Attorney General has statutory authority to appoint the Special

      Counsel.

   3. Whether the Acting Attorney General had authority to appoint the Special

      Counsel in this case.
USCA Case #18-3052       Document #1753195            Filed: 09/28/2018     Page 14 of 71



               PERTINENT STATUTES AND REGULATIONS

      Pertinent provisions are reproduced in the addendum to this brief.

                        STATEMENT OF THE CASE

      This is an appeal from an order holding appellant Andrew Miller in contempt

following the district court’s denial of his motion to quash grand jury subpoenas. Miller

contended that the appointment of Special Counsel Robert S. Mueller, III, violated the

Appointments Clause of the Constitution. The district court rejected that claim.

      A. Statutory And Regulatory Framework

      The Attorney General is the head of the Department of Justice and has exclusive

authority (except as otherwise provided by law) to direct “the conduct of litigation” on

behalf of the United States. 28 U.S.C. §§ 503, 516. Congress has “vested” in the

Attorney General virtually “[a]ll functions of other officers of the Department of

Justice,” id. § 509, and empowered him to authorize other Departmental officials to

perform his functions, id. § 510. Congress has also authorized the Attorney General to

commission attorneys “specially retained under authority of the Department of Justice”

as “special assistant[s] to the Attorney General or special attorney[s]” and provided that

“any attorney specially appointed by the Attorney General under law, may, when

specifically directed by the Attorney General, conduct any kind of legal proceeding, civil

or criminal * * * which United States attorneys are authorized by law to conduct.” Id.

§ 515(a) and (b). Congress has also provided for the Attorney General to “appoint

officials * * * to detect and prosecute crimes against the United States.” Id. § 533(1).

                                            2
USCA Case #18-3052        Document #1753195              Filed: 09/28/2018   Page 15 of 71



These statutes authorize Attorneys General to appoint special counsels and define their

duties. See, e.g., United States v. Nixon, 418 U.S. 683, 694 (1974).

       The Attorney General has issued a regulation providing an internal framework

for certain special-counsel appointments. 28 C.F.R. §§ 600.1-600.10; see also 5 U.S.C.

§ 301 (authorizing the head of a department to issue regulations “for the government

of his department” and “the distribution and performance of its business”); Office of

Special Counsel, 64 Fed. Reg. 37,038 (July 9, 1999). The Special Counsel regulation

“replace[d],” 64 Fed. Reg. at 37,038, the independent counsel regime formerly provided

in Title IV of the Ethics in Government Act, 28 U.S.C. §§ 591-599 (expired); see Morrison

v. Olson, 487 U.S. 654 (1988). The Ethics in Government Act had required the Attorney

General in certain cases to ask a court to appoint an independent counsel, who then

operated with significant statutory freedom from Department of Justice supervision.

The Special Counsel regulation, in contrast, provides for a wholly Executive Branch

procedure for appointing a special counsel, who exercises discretion “within the context

of established procedures of the Department,” with “ultimate responsibility for the

matter and how it is handled * * * continu[ing] to rest with the Attorney General.” 64

Fed. Reg. at 37,038. The regulation seeks “to strike a balance between independence

and accountability in certain sensitive investigations.” Id.

       B. The Special Counsel’s Appointment And Jurisdiction

       On March 20, 2017, then-Federal Bureau of Investigation (“FBI”) Director

James B. Comey confirmed to the House Permanent Select Committee on Intelligence

                                              3
USCA Case #18-3052       Document #1753195            Filed: 09/28/2018     Page 16 of 71



that the FBI was investigating Russian interference with the 2016 presidential election

and “any links between individuals associated with the Trump campaign and the

Russian government and whether there was any coordination between the campaign

and Russia’s efforts.” Statement of FBI Director James B. Comey, H. Perm. Select

Comm. on Intelligence, Hearing on Russian Active Measures Investigation (Mar. 20, 2017),

available at https://www.fbi.gov/news/testimony/hpsci-hearing-titled-russian-active-

measures-investigation. “As with any counterintelligence investigation,” Comey stated,

“this will also include an assessment of whether any crimes were committed.” Id.

      On March 2, 2017, Attorney General Jeff Sessions recused himself “from any

existing or future investigations of any matters related in any way to the campaigns for

President of the United States.” Press Release, Attorney General Sessions Statement

on Recusal (Mar. 2, 2017), available at https://www.justice.gov/opa/pr/attorney-

general-sessions-statement-recusal. As the Attorney General noted, id., the Deputy

Attorney General in those circumstances exercises the authority of the Attorney

General, see 28 U.S.C. § 508; 28 C.F.R. § 0.15(a).

      On May 17, 2017, the Acting Attorney General (pursuant to Section 508) issued

an order appointing Robert S. Mueller, III, as Special Counsel “to investigate Russian

interference with the 2016 presidential election and related matters.” Office of the

Deputy Att’y Gen., Order No. 3915-2017, Appointment of Special Counsel to Investigate

Russian Interference with the 2016 Presidential Election and Related Matters, May 17, 2017

(“Appointment Order”) (capitalization omitted). Relying on “the authority vested” in

                                            4
USCA Case #18-3052        Document #1753195           Filed: 09/28/2018     Page 17 of 71



the Acting Attorney General, “including 28 U.S.C. §§ 509, 510, and 515,” the Acting

Attorney General ordered the appointment of a Special Counsel “in order to discharge

[the Acting Attorney General’s] responsibility to provide supervision and management

of the Department of Justice, and to ensure a full and thorough investigation of the

Russian government’s efforts to interfere in the 2016 presidential election.”          Id.

(introduction). The Acting Attorney General made applicable to the Special Counsel

“Sections 600.4 through 600.10 of Title 28 of the Code of Federal Regulations.” Id.

¶ (d).

         C. The Present Controversy

         On May 10, 2018, the Special Counsel served Miller with a grand jury subpoena

requiring that he testify and produce documents. B1; C19.1 On June 28, Miller moved

to quash the subpoena, raising constitutional and statutory challenges to the Special

Counsel’s appointment. B2; C22. On July 31, the district court denied his motion. See

C3, 92; D1. Miller moved to be held in civil contempt, and the Special Counsel moved

to compel the testimony. B2. On August 10, the district court granted both requests,




1
 Miller’s appendix is not consecutively paginated but instead divided into lettered parts.
This brief refers to appendix pages by part and page number. Since the docket is
reproduced at Appendix A, it is cited as A1-A7. The contempt order is reproduced at
Appendix B, and pages in that order are cited as B1-B3. Similarly, the opinion and
order denying the motion to quash are reproduced at Appendices C and D respectively
and are accordingly cited as C1-C92 and D1. “Br.” refers to Miller’s brief. “Concord
Br.” refers to the amicus brief filed by Concord Management and Consulting LLC.

                                            5
USCA Case #18-3052        Document #1753195            Filed: 09/28/2018     Page 18 of 71



found Miller in civil contempt, and stayed the contempt order pending appeal. B3. On

August 13, Miller filed a timely notice of appeal. A7.

      Miller based his motion to quash on a separate motion to dismiss the indictment

filed by defendant Concord Management and Consulting LLC in United States v. Internet

Research Agency et al., No. 18-cr-32 (D.D.C.), which Miller adopted by reference and

attached to his motion. Judge Dabney L. Friedrich denied Concord’s motion to dismiss

on August 13, 2018. United States v. Concord Mgmt. & Consulting LLC, 317 F. Supp. 3d

598 (D.D.C. 2018). On August 30, this Court denied Concord’s motion to intervene

but allowed it to participate as amicus curiae.

                           SUMMARY OF ARGUMENT

      The Special Counsel’s appointment is consistent with the Appointments Clause,

U.S. Const. Art. II, § 2, cl. 2. He qualifies as an “inferior Officer” who may be appointed

by the Head of a Department. Congress has provided “by law” for this method of

appointment. And the Deputy Attorney General properly assumed the role of Acting

Attorney General for this investigation upon the Attorney General’s recusal from the

matter.

      I. A. Under the Appointments Clause, Congress may by law provide for the

Head of a Department to appoint an “inferior Officer.” Supreme Court precedent

establishes that an “officer”—one who exercises significant authority under the laws of

the United States—is “inferior” if he is subject to direction and supervision at some



                                            6
USCA Case #18-3052         Document #1753195               Filed: 09/28/2018      Page 19 of 71



level by Presidentially-appointed and Senate-confirmed officers. Edmond v. United States,

520 U.S. 651, 663 (1997).

       B. The factors this Court distilled from Edmond to assess whether an officer is

“inferior”—degree of oversight, removability, and decisionmaking authority—support

inferior-officer status here. See Intercollegiate Broad. Sys., Inc. v. Copyright Royalty Bd., 684

F.3d 1332, 1340 (D.C. Cir. 2012).

       Under the Special Counsel regulation, the Special Counsel is subject to

substantial direction and oversight by the Attorney General. The Attorney General

defines the Special Counsel’s jurisdiction; the Special Counsel must comply with

Departmental procedures; the Special Counsel must report important events to the

Attorney General; and the Attorney General may countermand decisions that depart

from established Departmental practice.

       As for removal, the Special Counsel may be discharged for misconduct,

dereliction of duty, and good cause, including violation of Department policies. He can

also be removed by the Attorney General’s termination of his investigation in annual

budget reviews. These mechanisms provide ample means of control.

       Finally, the Special Counsel’s decisions are subject to review by the Attorney

General, who may require an explanation for any investigative or prosecutorial step and

countermand it when it is so unwarranted or inappropriate that it should not be

pursued. That review gives deference to the Special Counsel, but Edmond makes clear

that a deferential standard of review is still consistent with inferior-officer status.

                                               7
USCA Case #18-3052            Document #1753195       Filed: 09/28/2018    Page 20 of 71



        In any event, if the Attorney General deems it appropriate, he can revoke the

Special Counsel regulation and directly supervise the Special Counsel under statutory

authority, which would allow termination at will. That option ensures that the Special

Counsel is, for constitutional purposes, subordinate to the Attorney General.

        C.    Precedent establishes that the Special Counsel is an inferior officer.

Comparable officers for this purpose were held to be inferior in Morrison v. Olson, 487

U.S. 654, 671 (1988), and In re Sealed Case, 829 F.2d 50, 56 (D.C. Cir. 1987). The result

in this case is a fortiori.

        II. Congress has vested the Attorney General with statutory authority to appoint

special counsels.

        A. Precedent establishes that the Attorney General has statutory authority to

appoint the Special Counsel. In United States v. Nixon, 418 U.S. 683, 694 (1974), the

Supreme Court held that 28 U.S.C. §§ 515 and 533 authorized the appointment of a

special prosecutor comparable to the Special Counsel. This Court likewise found

appointment authority in Sealed Case, 829 F.2d at 55, citing Section 515. Those holdings

govern here.

        B. The text and history of Section 515 and 533 confirm that they confer

appointment authority. Section 515(b) empowers the Attorney General to commission

attorneys who are “specially retained under authority of the Department of Justice” as

“special assistant to the Attorney General or special attorney.” Section 533 confirms

that “[t]he Attorney General may appoint officials—(1) to detect and prosecute crimes

                                            8
USCA Case #18-3052        Document #1753195             Filed: 09/28/2018     Page 21 of 71



against the United States.” Attorneys General have long used these powers to appoint

special attorneys with responsibilities like the Special Counsel’s, with consistent support

from Congress, the Executive Branch, and the courts.

       III. Finally, the Acting Attorney General acted as the Head of a Department in

appointing the Special Counsel. Under 28 U.S.C. § 508, the Deputy Attorney General

may assume the Attorney General’s functions upon a disability. The legally mandated

recusal of the Attorney General from participating in a matter constitutes such a

disability.

       Contrary to Miller’s contentions, the Federal Vacancies Reform Act is not the

exclusive means to assume “acting” status; laws like Section 508 are specifically

preserved as alternative authority. And under longstanding definitions, a recusal under

law constitutes a disability permitting acting status. Any other rule would deprive the

Department of Justice of the power to act if its head is legally required to recuse in a

particular matter. Congress cannot have intended such an illogical result.

                                     ARGUMENT

I.     The Special Counsel Is An Inferior Officer Under The Appointments
       Clause

       The Constitution’s Appointments Clause provides the means for appointing all

officers of the United States. U.S. Const. Art. II, § 2, cl. 2. By default, officers must be

nominated by the President and confirmed by the Senate. But Congress may “vest”

the power to appoint “inferior Officers” in the President alone, courts, or a “Head[] of


                                             9
USCA Case #18-3052        Document #1753195             Filed: 09/28/2018    Page 22 of 71



Department[].” Id. It is undisputed that the Special Counsel is an officer and the

Appointments Clause applies. See Lucia v. SEC, 138 S. Ct. 2044, 2051 (2018) (officers

are those who “‘exercis[e] significant authority pursuant to the laws of the United

States’”) (quoting Buckley v. Valeo, 424 U.S. 1, 126 (1976) (per curiam)).

       Miller argues that the Special Counsel’s “appointment [was] unconstitutional

because he is a principal Officer not appointed by the President with the advice and

consent of the Senate.” Br. 14 (some capitalization omitted). That argument fails.

Under governing authority, the Special Counsel qualifies as an “inferior Officer” who

may be appointed by the head of a department because he is subject to supervision and

oversight by the Attorney General. That conclusion is confirmed by controlling

precedent addressing prosecutors vested with comparable authority to the Special

Counsel.

       A.     An inferior officer is one who reports to and is supervised by a
              superior officer

       Supreme Court authority establishes that the governing test for an identifying an

“inferior Officer” asks whether the official is subject to supervision and oversight by

other officers appointed by the President with Senate consent.

       In Morrison v. Olson, 487 U.S. 654, 671 (1988), the Supreme Court held that an

independent counsel appointed by a Special Division of the D.C. Circuit pursuant to

the Ethics in Government Act “clearly falls on the ‘inferior officer’ side” of the

principal/inferior officer line. The Court explained that the independent counsel was


                                            10
USCA Case #18-3052        Document #1753195            Filed: 09/28/2018     Page 23 of 71



“subject to removal by a higher Executive Branch official” for good cause, which

“indicate[d] that [the independent counsel] [was] to some degree ‘inferior’ in rank and

authority.” Id. at 663, 671. The independent counsel was also empowered “to perform

only certain, limited duties” involving “investigation and, if appropriate, prosecution

for certain federal crimes.” Id. In addition, the independent counsel’s office was

“limited in jurisdiction,” id. at 672, and temporary, in that the office is terminated when

the independent counsel’s “single task * * * is over.” Id.

       In Edmond v. United States, 520 U.S. 651, 666 (1997), the Court held that civilian

members of the Coast Guard Court of Criminal Appeals “are ‘inferior Officers’ within

the meaning of” the Appointments Clause. Although two of the Morrison factors—

narrow jurisdiction and limited tenure—did not apply to Coast Guard judges, the Court

explained that Morrison did not set forth “a definitive test for whether an officer is

‘inferior’ under the Appointments Clause.” Id. at 661. Rather, the Court found it

“evident that ‘inferior officers’ are officers whose work is directed and supervised at

some level by others who were appointed by Presidential nomination with the advice

and consent of the Senate.” Id. at 663. Because the Judge Advocate General exercised

administrative oversight over the Coast Guard Court of Criminal Appeals, which

included the power to remove judges without cause, id. at 664, and the Court of Appeals

for the Armed Forces could reverse the Coast Guard Court of Criminal Appeals’

decisions, id. at 664-665, the Court concluded that the judges were “‘inferior Officers,’”

id. at 666.

                                            11
USCA Case #18-3052        Document #1753195              Filed: 09/28/2018     Page 24 of 71



       In Free Enterprise Fund v. Public Company Accounting Oversight Bd., 561 U.S. 477, 510

(2010), the Court quoted Edmond as holding that “[w]hether one is an inferior officer

depends on whether he was a superior.” The Court added, quoting Edmond, that

“inferior officers are officers whose work is directed and supervised at some level by

other officers appointed by the President with the Senate’s consent.” Id. (quotation

marks omitted).

       In Intercollegiate Broadcasting System v. Copyright Royalty Board, Inc., 684 F.3d 1332

(D.C. Cir. 2012), this Court applied these decisions in concluding that Copyright

Royalty Judges were principal officers. The court distilled from Edmond three relevant

factors: whether the officer is (1) “subject to the substantial supervision and oversight”

of a principal officer, (2) removable without cause, and (3) able to render a final decision

on behalf of the United States. Id. at 1338. Because Copyright Royalty Judges had “vast

discretion over * * * rates and terms,” id. at 1339, could be removed “only for

misconduct or neglect of duty,” id. at 1340, and could not have their rate determinations

reversed or corrected by anyone else within the executive branch, id., the court

concluded that the Judges were principal officers, id.

       B.     The Special Counsel reports to and is supervised by the Acting
              Attorney General and is therefore an inferior officer

       Under the analysis in those cases, the Special Counsel is an “inferior Officer”

under the Special Counsel regulation because the Acting Attorney General supervises

the Special Counsel’s work, may remove him from office, and may review and


                                             12
USCA Case #18-3052       Document #1753195             Filed: 09/28/2018    Page 25 of 71



countermand his decisions. And, as an additional means of exercising control, the

Acting Attorney General can rescind the regulation at any time and exercise direct

statutory supervision over the Special Counsel.

             1. The Special Counsel is subject to supervision and oversight

      First, the Special Counsel is “subject to the substantial supervision and

oversight” of the Acting Attorney General. Intercollegiate Broad., 684 F.3d at 1338. The

Special Counsel’s existence depends on the Acting Attorney General, who appointed

him and delegated to him powers that are otherwise vested in the Attorney General

alone. See 28 U.S.C. §§ 509, 510; Appointment Order (introduction and ¶¶ (a)-(d)).

And because “[a]ll functions of other offices of the Department of Justice * * * are

vested in the Attorney General” 28 U.S.C. § 509, the Acting Attorney General has

plenary statutory authority to supervise the Special Counsel.

       The regulatory provisions made applicable to the Special Counsel provide

further means of direction and supervision. Appointment Order ¶ (d); see United States

v. Nixon, 418 U.S. 683, 696 (1974) (while extant, the regulations bind the Executive

Branch). While “[t]he Special Counsel shall not be subject to the day-to-day supervision

of any official of the Department,” 28 C.F.R. § 600.7(b), the regulation ensures “that

ultimate responsibility for the matter [the Special Counsel is appointed to investigate

and, if appropriate, prosecute] and how it is handled will continue to rest with the

Attorney General.” Office of Special Counsel, 64 Fed. Reg. 37,038, 37,038 (July 9, 1999).



                                           13
USCA Case #18-3052        Document #1753195              Filed: 09/28/2018     Page 26 of 71



       As an initial matter, the regulation instructs the Attorney General to define the

Special Counsel’s jurisdiction and requires the Special Counsel to obtain approval from

the Attorney General if he “concludes that additional jurisdiction beyond that specified

in his or her original jurisdiction is necessary in order to fully investigate and resolve the

matters assigned, or to investigate new matters that come to light in the course of his

* * * investigation.” 28 C.F.R. § 600.4(a)-(b). “The Special Counsel regulations also

make clear that the Special Counsel remains subject to the Attorney General’s oversight

following the Special Counsel’s appointment, notwithstanding the specific grant of

original jurisdiction.” United States v. Manafort, 2018 WL 3126380, at *10 (E.D. Va. June

26, 2018). For example, in operating within his assigned jurisdiction, the Special

Counsel must “comply with the rules, regulations, procedures, practices and policies of

the Department of Justice,” including “required review and approval procedures by the

designated Departmental component[s].” 28 C.F.R. § 600.7(a). As the investigation

progresses, the Special Counsel is required to “notify the Attorney General of events in

the course of his or her investigation in conformity with the Departmental guidelines

with respect to Urgent Reports,” 28 C.F.R. § 600.8(b), which require, among other

things, advance reports of “major developments in significant investigations and

litigation.” Justice Manual § 1-13.100. And “[u]pon request,” the Special Counsel must

“provide an explanation for any investigative or prosecutorial step” to the Attorney

General. 28 C.F.R. § 600.7(b). The Special Counsel may not take any action that the

Attorney General finds “is so inappropriate or unwarranted under established

                                             14
USCA Case #18-3052        Document #1753195             Filed: 09/28/2018     Page 27 of 71



Departmental practices that it should not be pursued.” Id. § 600.7(b). The regulation

thus “explicitly acknowledge[s] the possibility of review of specific decisions reached

by the Special Counsel.” Office of Special Counsel, 64 Fed. Reg. at 37,038.

       Miller makes two arguments for why the Special Counsel is not subject to the

Acting Attorney General’s substantial supervision and oversight. First, Miller asserts

that, “[i]n practice, the Acting [Attorney General] appears to take a deferential[,] hands-

off approach to the work of the Special Counsel.” Br. 20. But the test for supervision

in Appointments Clause analysis turns on structural arrangements fixed by law, not on

a particular means of exercising those powers. United States v. Concord Mgmt. & Consulting

LLC (“Concord”), 317 F. Supp. 3d 598, 608 (D.D.C. 2018) (“Statutes and regulations

provide the framework for evaluating the direction and supervision of the Special

Counsel”); see, e.g., Edmond, 520 U.S. at 664-665. Miller cites no law supporting his

contrary position. In any event, “the presumption of regularity supports the official

acts of public officers, and, in the absence of clear evidence to the contrary, courts

presume that they have properly discharged their official duties.” United States v. Chemical

Foundation, 272 U.S. 1, 14-15 (1926). Miller cites no evidence to overcome that

presumption, and, in fact, supervision under the regulations has occurred. See, e.g.,

Manafort, 2018 WL 3126380, at *10 (discussing Acting Attorney General’s post-

appointment scope memorandum).

       Second, Miller urges that the Special Counsel is not subject to the Attorney

General’s substantial supervision and oversight because the Attorney General may not

                                            15
USCA Case #18-3052       Document #1753195            Filed: 09/28/2018    Page 28 of 71



“‘countermand[] a decision with which he disagrees, no matter how vehemently, so long

as the decision does not rise to the level of so inappropriate or unwarranted under

established Departmental practices.’” Br. 21 (quoting Concord, 317 F. Supp. 3d at 611-

612) (some quotation marks omitted). That argument is unsound.

      Edmond does not require that a superior retain plenary authority to countermand

all of his subordinate’s decisions in order for the subordinate to be considered an

inferior officer. In Edmond, neither the Judge Advocate General nor the Court of

Appeals for the Armed Forces had “complete” control over Coast Guard judges: the

Judge Advocate General could not “attempt to influence (by threat of removal or

otherwise) the outcome of individual proceedings” and had “no power to reverse

decisions of the court”; and while the Court of Appeals had the power to reverse Coast

Guard judge’s decisions, it exercised a “narrow[],” deferential level of review. 520 U.S.

at 664-665. The Supreme Court nonetheless found that the Coast Guard judges were

inferior officers because their work was “directed and supervised at some level by others

who were appointed by presidential nomination with the advice and consent of the

Senate.” Id. at 663 (emphasis added).

      The Special Counsel readily meets this test. The Attorney General receives a

regular flow of information about the Special Counsel’s actions; he can demand an

explanation for any of them; and he has power to intervene when he deems it

appropriate to prevent a deviation from established Departmental practices. The

regulation envisions deference by requiring the Attorney General to stay his hand unless

                                           16
USCA Case #18-3052        Document #1753195             Filed: 09/28/2018      Page 29 of 71



he determines that an action is “so inappropriate or unwarranted under established

Departmental practices that it should not be pursued.” 28 C.F.R. § 600.7(b) (emphasis

added). But while the Attorney General must “give great weight to the views of the

Special Counsel,” id., the provision affords the Attorney General discretion to assert

control if he finds the applicable standard satisfied. This authority—coupled with the

Attorney General’s latitude to terminate the Special Counsel for “good cause, including

violation of Departmental policies,” 28 C.F.R. § 600.7(d)—provides substantial means

to direct and supervise the Special Counsel’s decisions.

       Beyond that, the concept of “supervision and oversight” takes into account a

variety of other mechanisms of control besides plenary authority over each and every

decision. In Edmond, for example, the Court emphasized the Judge Advocate General’s

“administrative oversight over” Coast Guard judges. 520 U.S. at 664; see also Intercollegiate

Broad., 684 F.3d at 1338 (explaining that Copyright Royalty Judges were “supervised in

some respects by the Librarian [of Congress]” because the Librarian, among other

things, issued ethical rules for the Judges and oversaw various logistical aspects of their

duties). Similarly, in United States v. Hilario, 218 F.3d 19, 26 (1st Cir. 2000), the First

Circuit found that United States Attorneys are inferior officers because they are subject

to a “pervasive * * * supervisory regime,” under which the Attorney General could

require them to file reports, fix their salaries, authorize their office expenses, and

approve their staffing decisions.



                                             17
USCA Case #18-3052       Document #1753195           Filed: 09/28/2018    Page 30 of 71



      The Special Counsel is subject to equally “pervasive” administrative supervision

and oversight. The Attorney General controls whether to appoint a Special Counsel

and the scope of his jurisdiction. 28 C.F.R. § 600.4(a)-(b). Once appointed, the Special

Counsel must comply with Justice Department rules, regulations, and policies. Id.

§ 600.7(a). He must “request” that the Attorney General provide Department of Justice

employees to assist him or allow him to hire personnel from outside the Department.

Id. § 600.5. The Special Counsel and his staff are “subject to disciplinary action for

misconduct and breach of ethical duties under the same standards and to the same

extent as are other employees of the Department of Justice.” Id. § 600.7(c). And, each

year, the Attorney General “establish[es] the budget” for the Special Counsel and

“determine[s] whether the investigation should continue.” Id. § 600.8(a)(1)-(2). The

Attorney General’s initial control over the existence and scope of the Special Counsel’s

investigation; his ongoing control over personnel and budgetary matters; his power to

impose discipline for misconduct or a breach of ethical duties; and his authority to end

the investigation afford the Attorney General substantial supervision and oversight,

which supplements the Attorney General’s regulatory power to countermand the

Special Counsel’s investigative and prosecutorial decisions.

             2. The Special Counsel is removable by the Attorney General

      The Attorney General’s broad power to remove the Special Counsel under the

regulation also supports the conclusion that he is an inferior officer. The Special

Counsel is removable for “misconduct, dereliction of duty * * * or for other good

                                          18
USCA Case #18-3052        Document #1753195             Filed: 09/28/2018      Page 31 of 71



cause, including violation of Departmental policies.” 28 C.F.R. § 600.7(d). The Special

Counsel may also be removed by the Attorney General’s decision to terminate the

investigation at the end of a fiscal year, id. § 600.8(a)(2), which would automatically close

the Special Counsel’s office. To the extent that removal authority serves as a strong

mechanism for control, the Attorney General’s power to end an investigation provides

significant control.

       Miller focuses only on the “good cause” language in Section 600.7(d),

erroneously urging that this factor reinforces his claim that the Special Counsel is a

principal officer. Br. 22-23. But Section 600.7(d) sweeps beyond “good cause” alone.

It includes “misconduct”—such as the failure to follow an order from the Attorney

General that is lawful under the regulation—and the “violation of Departmental

policies.” It also includes “dereliction of duty,” which, like “neglect of duty,” is a “very

broad” term that “could sustain removal of a [special counsel] for any number of actual

or perceived transgressions of the [Attorney General’s] will.” Bowsher v. Synar, 478 U.S.

714, 729 (1986).

       Even if the regulation’s removal provision were limited to “good cause” alone,

that would not transform the Special Counsel into a principal officer. The Supreme

Court has expressed “no doubt that when congress, by law, vests the appointment of

inferior officers in the heads of departments, it may limit and restrict the power of

removal as it deems best for the public interest.” United States v. Perkins, 116 U.S. 483,

485 (1886). The Court has never questioned that principle. See Morrison, 487 U.S. at 689

                                             19
USCA Case #18-3052          Document #1753195               Filed: 09/28/2018       Page 32 of 71



n.27 (citing Perkins with approval); id. at 724 & n.4 (Scalia, J., dissenting) (same).

Although “good cause” removal protection in combination with the other factors may

support a finding of principal officer status, see, e.g., Intercollegiate Broadcasting, 684 F.3d at

1339-1340, it does not mandate such a finding standing alone. For example, the special

trial judges of the Tax Court found to be inferior officers in Freytag v. Commissioner, 501

U.S. 868, 881 (1991), were removable only “after notice and opportunity for public

hearing” and only “for inefficiency, neglect of duty, or malfeasance in office, but for no

other cause.” 26 U.S.C. § 7443(f). And the independent counsel in Morrison was

removable only for good cause. 487 U.S. at 671, 686, 689. “Good cause” is “susceptible

to broad readings” that can ensure ample control over a subordinate’s action, and under

such readings, the Special Counsel regulation imposes “only minimal restrictions” on

removal.     C44-C45 & n.19 (discussing broad interpretations of similar removal

restrictions); Concord, 317 F. Supp. 3d at 612-613 (same). Given the intent of the

regulation to preserve the Attorney General’s “ultimate responsibility” for the Special

Counsel’s actions, 64 Fed. Reg. at 37,038, a broad reading is entitled to deference, Auer

v. Robbins, 519 U.S. 452 (1997), and, accordingly, the removal power in the Special

Counsel regulation provides a significant mechanism for control.2


2
  If, notwithstanding the foregoing, Section 600.7(d)’s removal provision “did somehow
elevate the Special Counsel to principal officer status, the proper remedy would be to
void the removal provision rather than the Special Counsel’s appointment.” C45 n.21;
see, e.g., Free Enterprise Fund, 561 U.S. at 508-510; Intercollegiate Broad., 684 F.3d at 1340-
1341.

                                                20
USCA Case #18-3052        Document #1753195             Filed: 09/28/2018     Page 33 of 71



              3. The Special Counsel’s decision-making authority is subject to
                 review and correction

       Finally, the Special Counsel is not a principal officer under the regulation because

he does not have unlimited authority to make final decisions on behalf of the United

States. See 28 C.F.R. § 600.7(b). The scope of Attorney General review of Special

Counsel decisionmaking is “narrower” than plenary review, but “[t]his limitation upon

review does not * * * render the [Special Counsel a] principal officer[].” Edmond, 520

U.S. at 665. “What is significant is that the [Special Counsel] ha[s] no power to render

a final decision on behalf of the United States unless permitted to do so by other

Executive officers.” Id.; see C28 (same).

       Miller asserts that the Special Counsel has the authority to make final decisions

on behalf of the United States because the regulation “nowhere require[s] the Special

Counsel to seek approval or get permission from the [Attorney General] before making

final decisions about who to investigate, indict, and prosecute.” Br. 22. That was also

true of United States commissioners—who could issue warrants for the arrest and

detention of defendants—but who nonetheless “are inferior officers.” Go-Bart Importing

Co. v. United States, 282 U.S. 344, 353 (1931). And it is true for United States Attorneys,

28 U.S.C. § 547, who are also inferior officers. See Myers v. United States, 272 U.S. 52,

159 (1926); Hilario, 218 F.3d at 25-26; United States v. Gantt, 194 F.3d 987, 999 (9th Cir.

1999); United States Attorneys—Suggested Appointment Power of the Attorney General—

Constitutional Law (Article II, § 2, cl. 2), 2 Op. O.L.C. 58, 59 (1978) (“U.S. Attorneys can


                                            21
USCA Case #18-3052       Document #1753195            Filed: 09/28/2018    Page 34 of 71



be considered to be inferior officers”).3 Few inferior-officer positions require a

supervisor to review every single decision. See, e.g., Edmond, 520 U.S. at 665; C46 n.22.

Thus, the Special Counsel’s authority to act without obtaining advance approval of

every decision cannot transform the Special Counsel into a principal officer, requiring

presidential appointment and Senate confirmation.

             4. The Attorney General retains authority to revoke the Special
                Counsel regulation

      While the Special Counsel regulation has the force of law while in effect, it may

also be revoked in the Attorney General’s sole discretion. See Nixon, 418 U.S. at 696

(noting that “it is theoretically possible for the Attorney General to amend or revoke

the regulation defining the Special Prosecutor’s authority”); In re Sealed Case, 829 F.2d

50, 56 (D.C. Cir. 1987) (“[T]he Independent Counsel: Iran/Contra serves only for so


3
  Miller suggests that U.S. Attorneys are principal officers because, “from the very
beginning,” they have been appointed by the President and confirmed by the Senate.
Br. 15-17 (quoting In re Sealed Case, 838 F.2d 476, 511 n.55 (D.C. Cir. 1988), rev’d sub
nom Morrison, 487 U.S. 654). Historically, that practice likely arose because U.S.
Attorneys were not made subject to the Attorney General’s supervision and oversight
until 1861. Compare First Judiciary Act, 1 Stat. 73, 92-93 (1789), with Act of Aug. 2,
1861, ch. 37, § 1, 12 Stat. 285, 285. More recently, Congress has enacted legislation
allowing for the appointment of U.S. Attorneys by the President, with the advice and
consent of the Senate, 28 U.S.C. § 541(a); by a court, id. § 546(d); or by the Attorney
General, id. § 546(a)—the latter two appointment authorities manifesting Congress’s
understanding that U.S. Attorneys are inferior officers. And every court that has
considered the question has concluded that U.S. Attorneys are inferior officers. Thus,
to the extent that the Special Counsel “can be accurately characterized as a U.S.
Attorney-at-Large,” Br. 17; see 28 C.F.R. § 600.6 (Special Counsel has the “investigative
and prosecutorial functions of any United States Attorney”), the Special Counsel, like
any U.S. Attorney, would fall on the “inferior officer” side of the line.

                                           22
USCA Case #18-3052       Document #1753195            Filed: 09/28/2018     Page 35 of 71



long as the March 5, 1987, regulation remains in force. Subject to generally applicable

procedural requirements, the Attorney General may rescind this regulation at any time,

thereby abolishing the Office of Independent Counsel: Iran/Contra.”). The regulation

was issued as a rule “relat[ing] to matters of agency management or personnel” and

“therefore exempt from the usual requirements of prior notice and comment and a 30-

day delay in the effective date,” Office of Special Counsel, 64 Fed. Reg. at 37,041; the

regulation could likewise be amended or eliminated without notice-and-comment

rulemaking, see 5 U.S.C. § 553(a)(2). Thus, “to the extent that the regulation threatens

to impair the Acting Attorney General’s ability to direct and supervise the Special

Counsel, the Department of Justice may simply rescind or revise the regulations at any

time.” Concord, 317 F. Supp. 3d at 615; see C30-C31 (“shackles the Attorney General

may remove anytime, for any reason, do not meaningfully restrict”). 4

      Miller urges that potential revocation of the regulation is a “hypothetical future

circumstance” that should not be considered. Br. 24-25. In Sealed Case, however, the

court expressly considered the Attorney General’s power to revoke the relevant



4
 Nader v. Bork, 366 F. Supp. 104, 107-109 (D.D.C. 1973), found the revocation of the
regulation establishing the Watergate Special Prosecutor arbitrary and unreasonable,
where the Acting Attorney General first fired the Special Prosecutor in violation of
regulation, then retroactively rescinded it, and then reinstated a similar regulation less
than three weeks later. That chain of events is distinguishable from a decision to revoke
the Special Counsel regulation without more. See Corcord, 317 F. Supp. 3d at 616 n.7.
In any event, Sealed Case declined to “decide whether [Nader’s] analysis was correct.”
829 F.2d at 56 n.33.

                                           23
USCA Case #18-3052       Document #1753195            Filed: 09/28/2018     Page 36 of 71



regulation in evaluating his control over a Special Counsel. 829 F.2d at 56 (noting that

the court “need not decide” whether the Ethics in Government Act created a principal

officer “in order to conclude that the regulation does not” because of the “crucial

difference” that “the Attorney General may rescind th[e] regulation at any time, thereby

abolishing the Office”). That consideration makes logical sense. The status of the

Special Counsel turns on all of the Attorney General’s supervisory authority—not only

his self-imposed restraints, but also his ability to lift those restraints. See C30 (“the

Attorney General voluntarily has limited his power—but unlike Ulysses, the Attorney

General can unbind himself at will”). Accounting for that revocation power does not

require the court to consider “hypothetical future circumstance[s],” but rather accounts

for the full extent of the Attorney General’s current authority.

      Miller contends that the Special Counsel regulation cannot “be changed

immediately (or even very quickly) by the Attorney General” because “once a given

legal or policy position has been enshrined, the Executive Branch entity involved cannot

revoke it without going through the appropriate process, which includes providing ‘a

reasoned explanation for the change.’” Br. 26 (quoting Encino Motorcars, LLC v. Navarro,

136 S. Ct. 2117, 2125 (2016)). But the Administrative Procedure Act does not require

notice-and-comment rulemaking for “matter[s] relating to agency management or

personnel.” 5 U.S.C. § 553(a)(2). The Special Counsel regulation falls within that

exception. See Office of Special Counsel, 64 Fed. Reg. at 37,041. And the Attorney General



                                           24
USCA Case #18-3052       Document #1753195              Filed: 09/28/2018   Page 37 of 71



could readily provide a reasoned explanation by concluding that greater supervision of

sensitive investigations was appropriate.

      Nor would judicial review be available. A decision to rescind the regulation in

order to exercise greater control over the investigation would be “‘committed to agency

discretion by law.’” Sealed Case, 829 F.2d at 63 (Williams, J., concurring in part and

dissenting in part) (quoting 5 U.S.C. § 701(a)(2)). A decision is committed to agency

discretion when “statutes are drawn in such broad terms that in a given case there is no

law to apply.” Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 410 (1971)

(internal quotation marks omitted).         If no “‘judicially manageable standards’ are

discernable, meaningful judicial review is impossible, and agency action is shielded from

the scrutiny of the courts.” Drake v. FAA, 291 F.3d 59, 70 (D.C. Cir. 2002) (quoting

Heckler v. Chaney, 470 U.S. 821, 830 (1985)).

      Miller identifies no statute that would restrict the Attorney General’s ability to

rescind the Special Counsel regulation. To the contrary, the statutes governing the

Attorney General’s ability to appoint and manage the Special Counsel “speak in the

broadest imaginable terms.” Sealed Case, 829 F.2d at 64 (Williams, J.) (discussing 5

U.S.C. § 301 and 28 U.S.C. §§ 509, 510, 515(a)). Thus, no “judicially manageable

standards” exist by which to judge an Attorney General’s revocation of the Special

Counsel regulation. Indeed, as Judge Williams explained in Sealed Case, “all of” the

“factors militating in favor of discretion and against review” of prosecutorial decisions



                                             25
USCA Case #18-3052         Document #1753195             Filed: 09/28/2018      Page 38 of 71



are applicable to the Attorney General’s revocation of regulations governing a Special

Counsel. Id. at 64; accord Concord, 317 F. Supp. 3d at 616.

       Miller’s reliance (Br. 26-28) on NAACP v. Trump, 298 F. Supp. 3d 209 (D.D.C.

2018), is misplaced. There, the rescission of an immigration program was found

reviewable because the rescission was based on the agency’s “determination that the

program was implemented without proper statutory and constitutional authority—a

legal determination,” which, the court concluded, “when made in the context of a

general enforcement policy, is not subject to [the] presumption of unreviewability.” 298

F. Supp. 3d at 234; see generally OSG Bulk Ships v. United States, 132 F.3d 808, 812 (D.C.

Cir. 1998). Whatever the merit of the analysis in Trump v. NAACP, it does not apply

here. Unlike a “legal interpretation phrased as a general enforcement policy,” 298 F.

Supp. 3d at 233, a discretionary decision to rescind the Special Counsel regulation would

turn on the Attorney General’s prosecutorial judgment on how to supervise certain

types of investigations. Decisions of that nature are committed to the Attorney

General’s discretion. See United States v. Armstrong, 517 U.S. 456, 464 (1996); see also Sealed

Case, 829 F.2d at 64 (Williams, J.) (explaining that the “search for any ‘law to apply’” to

the Attorney General’s authority to supervise the Special Counsel “is singularly

unproductive”).

              C.     Precedent forecloses Miller’s principal-officer argument

       The conclusion that a Special Counsel is not a principal officer is also compelled

by precedent. The Supreme Court in Nixon characterized the Watergate Special

                                              26
USCA Case #18-3052        Document #1753195             Filed: 09/28/2018     Page 39 of 71



Prosecutor as a “subordinate officer[], appointed “to assist [the Attorney General] in

the discharge of his duties.” 418 U.S. at 694; see also Morrison, 487 U.S. at 673 (equating

“subordinate officer” in Nixon with “inferior Officer”); id. at 721 (Scalia, J., dissenting)

(same). And when Appointments Clause challenges to independent counsels arose in

Morrison and Sealed Case, the Supreme Court and this Court held that the independent

counsels in question were inferior officers based on reasoning that equally applies here.

       The statutory independent counsel at issue in Morrison was subject to less

oversight and supervision than is the Special Counsel here: the independent counsel

was not required to explain her investigative or prosecutorial steps to the Attorney

General, and the Attorney General had no authority to countermand the independent

counsel’s actions. Compare Morrison, 487 U.S. at 662-665, with 28 C.F.R. § 600.7(b). As

for the factors identified in Morrison, both an independent counsel and a Special Counsel

may be removed by the Attorney General for good cause, Morrison, 487 U.S. at 671; 28

C.F.R. § 600.7(d); both have “certain, limited duties,” Morrison, 487 U.S. at 671; e.g.,

Appointment Order ¶¶ (b) & (c); both may “only act within the scope of th[eir]

jurisdiction,” Morrison, 487 U.S. at 672; 28 C.F.R. § 600.4(a), (b); and both are

“appointed essentially to accomplish a single task, and when that task is over the office

is terminated, either by the counsel [him]self or by action of the [Acting Attorney

General,]” Morrison, 487 U.S. at 672; 28 C.F.R. § 600.8(c). Thus, the Morrison factors

“establish that [the Special Counsel] is an ‘inferior’ officer in the constitutional sense.”

487 U.S. at 672; accord C48-C49; Concord, 317 F. Supp. 3d at 618; Manafort, 2018 WL

                                            27
USCA Case #18-3052        Document #1753195              Filed: 09/28/2018     Page 40 of 71



3126380, at *3 n.5 (citing Morrison for the proposition that “[t]he Special Counsel

appears quite plainly to be an inferior officer”); see United States v. Libby, 429 F. Supp. 2d

27, 44 (D.D.C. 2006) (explaining that special counsel Patrick Fitzgerald “falls squarely

into the mold of Morrison, where the Supreme Court concluded that the independent

counsel was an inferior officer”).

       Miller claims that Morrison “has been widely regarded as being supplanted by

subsequent Appointments Clause cases.” Br. 17. But the Supreme Court has never

overruled Morrison. See Rodriguez de Quijas v. Shearson/American Express, Inc., 490 U.S.

477, 484 (1989). And this Court sitting en banc has recently noted, albeit in another

context, that Morrison “remains valid and binding precedent.” PHH Corp. v. Consumer

Fin. Prot. Bureau, 881 F.3d 75, 96 (D.C. Cir. 2018) (en banc).

       Miller also attempts to distinguish Morrison, claiming that the independent

counsel’s duties, jurisdiction, and tenure were more limited than the Special Counsel’s.

Br. 18-19. Miller notes that Morrison’s specific inquiry was “focused on only one

person, who was out of government at the time: Ted Olson.” Br. 18 (internal quotation

marks omitted). But in determining that the independent counsel was an inferior

officer, the Supreme Court focused solely on the statutory structure of the office, not

on Morrison’s particular investigation. See Morrison, 487 U.S. at 671-672; see also C49-

C51. Without explanation, Miller asserts that “[t]he prosecutorial power wielded by this

Special Counsel is clearly extraordinary.” Br. 18. But the independent counsel had the

authority to investigate the most senior officials in government and to prosecute them

                                             28
USCA Case #18-3052        Document #1753195             Filed: 09/28/2018      Page 41 of 71



for “violations of ‘any Federal criminal law other than a violation classified as a Class B

or C misdemeanor or an infraction.’” Morrison, 487 U.S. at 660 n.2. Given the scope

of this authority, the district court correctly concluded that “[t]he Special Counsel’s

authority is not clearly greater than the Independent Counsel’s, and arguably is lesser.”

C50.

       This Court’s binding opinion in Sealed Case—which Miller does not address in

his principal/inferior officer analysis—likewise compels the conclusion that the Special

Counsel is an inferior officer. There, the Attorney General relied on now-lapsed

authority under the Ethics in Government Act to appoint independent counsel

Lawrence Walsh to investigate whether certain arms shipments and diversion of funds

involved criminal conduct.       Sealed Case, 829 F.2d at 51-52, 55-56.        To avoid a

constitutional challenge to the Ethics in Government Act, the Attorney General gave

Walsh a parallel appointment under 5 U.S.C. § 301 and 28 U.S.C. §§ 509, 510, and 515,

delegating the authority to investigate the Iran/Contra matter and prosecute crimes

arising from it. Id. In rejecting an Appointments Clause challenge, this Court concluded

that Walsh was “‘charged with the performance of the duty of the superior [i.e., the

Attorney General] for a limited time and under special and temporary conditions,” and

“[a]s such * * * remains an ‘inferior Officer’ whom the Attorney General, as the ‘Head[]

of [a] Department[ ],’ may appoint under the express terms of the Appointments

Clause.” Id. at 56-57 (quoting United States v. Eaton, 169 U.S. 331, 343 (1898)) (alterations

in Sealed Case). Because the Special Counsel here was appointed pursuant to the same

                                             29
USCA Case #18-3052        Document #1753195          Filed: 09/28/2018    Page 42 of 71



statutory authority as Walsh, and was tasked with an investigation that is similarly

limited in scope, Sealed Case mandates the conclusion that the Special Counsel is an

“inferior Officer.”

II.    The Attorney General Has Statutory Authority To Appoint The Special
       Counsel

       Miller, supported by amicus Concord, contends that the Attorney General lacks

statutory power to appoint the Special Counsel, as the Appointments Clause requires.

The Supreme Court in Nixon, 418 U.S. 683, and this Court in Sealed Case, 829 F.2d 50,

however, each held that the Attorney General has statutory authority to appoint a

special counsel and delegate prosecutorial authority to him. That precedent forecloses

Miller’s challenge to the statutory authority for the appointment here. The challenge

also fails on the merits: 28 U.S.C. §§ 515(b) and 533 provide the relevant appointment

authority, as text, history, and practice confirm.

       A.     Precedent establishes the Attorney General’s appointment authority

       In Nixon, the Attorney General appointed a special prosecutor to investigate and

prosecute offenses arising from the 1972 presidential election, empowering the

prosecutor through an expansive regulation. 418 U.S. at 694 & n.8. Acting under that

regulation, the special prosecutor issued a subpoena to the President for the production

of evidence and the district court denied a motion to quash. Id. at 687-688. In the

Supreme Court, the President contended that the case was not justiciable because it

constituted only an “intra-branch dispute” over evidence to be used in a prosecution,


                                            30
USCA Case #18-3052       Document #1753195            Filed: 09/28/2018    Page 43 of 71



in which the President’s decision was “final.” Id. at 692-693. The Court rejected that

contention, explaining that the special prosecutor acted pursuant to a proper delegation

of the Attorney General’s authority:

      Congress has vested in the Attorney General the power to conduct the
      criminal litigation of the United States Government. 28 U.S.C. § 516. It
      has also vested in him the power to appoint subordinate officers to assist
      him in the discharge of his duties. 28 U.S.C. §§ 509, 510, 515, 533. Acting
      pursuant to those statutes, the Attorney General has delegated the authority
      to represent the United States in these particular matters to a Special
      Prosecutor with unique authority and tenure.

Id. at 694 (emphasis added). The Court held that, as long as the regulation delegating

power to the special prosecutor remained in place, it bound the entire Executive Branch

and required rejection of the President’s argument that he could override the special

prosecutor’s determination to seek evidence through the subpoena. Id. at 695-696.

      Miller and Concord assert that Nixon’s discussion of the statutory provisions

authorizing the delegation of power to the special prosecutor was “merely unnecessary

background,” and thus dicta. Br. 12-13; see Concord Br. 22-23. That is incorrect. Nixon

focused on the Attorney General’s appointment power because the special prosecutor

could not assert the Attorney General’s authority “to conduct the criminal litigation of

the United States Government” unless the prosecutor had been properly appointed.

418 U.S. at 694. If the Attorney General lacked authority to appoint a special

prosecutor, the regulation empowering that prosecutor to represent the sovereign

interests of the United States in litigation would have lacked force. Finding statutory

authority for the appointment was thus critical to the Court’s conclusion that “[s]o long

                                           31
USCA Case #18-3052         Document #1753195          Filed: 09/28/2018     Page 44 of 71



as this regulation [conferring authority on the special prosecutor] is extant it has the

force of law.” Id. at 695.5

       Concord also argues that Nixon is not binding because it merely “assumed” that

the relevant appointment authority existed. Concord Br. 21-22 (citing United States v.

Verdugo-Urquidez, 494 U.S. 259, 272 (1990)). But Nixon did not rest on an unstated

assumption:        it “expressly address[ed]” the statutory authority for the special

prosecutor’s appointment. Verdugo-Urquidez, 494 U.S. at 272. Although the President

did not contest that statutory analysis, the Court’s recognition of the Attorney General’s

appointment authority reflected its independent judgment and formed a crucial element

of its holding.6




5
  Concord suggests (Br. 22) that the Court’s justiciability holding was predicated only
on its conclusion that there was “concrete adverseness” over the executive-privilege
question. Nixon, 418 U.S. at 697. But that conclusion reflected a second level of
analysis; it came after the Court’s rejection of the President’s claim that he had final
control over the privilege question within the Executive Branch—a claim that the Court
rejected by holding that the regulation delegating authority to the special prosecutor
was binding while in force. Id. at 693-696. And even if the statutory analysis were
regarded as dictum—which it is not—“carefully considered language of the Supreme
Court, even if technically dictum, generally must be treated as authoritative.” United
States v. Fields, 699 F.3d 518, 522 (D.C. Cir. 2012) (citation omitted).
6
 Concord contends (Concord Br. 20-21) that Sealed Case treated Nixon as inconclusive
on this issue because it stated in a footnote that Nixon “presupposed the validity of a
regulation appointing the Special Prosecutor.” Sealed Case, 829 F.2d at 55 n.30 (citing
Nixon, 418 U.S. at 694-696). But Sealed Case made that observation while invoking
Nixon to support its conclusion (id. at 55) that the Attorney General has statutory
authority to appoint a special counsel. In any event, Sealed Case cannot alter the Supreme
Court’s actual holding in Nixon.

                                           32
USCA Case #18-3052        Document #1753195            Filed: 09/28/2018     Page 45 of 71



      In Sealed Case, this Court reached the same conclusion about the Attorney

General’s statutory authority. See 829 F.2d at 55. As previously discussed (see pp. 29-

30, supra), the Attorney General appointed independent counsel Lawrence Walsh to

investigate Iran/Contra under 5 U.S.C. § 301 and 28 U.S.C. §§ 509, 510, and 515. See

829 F.2d at 52-53. Oliver North challenged a subpoena issued by the independent

counsel’s grand jury, arguing that the Attorney General’s delegation was not “lawful.”

Id. at 55. This Court disagreed, finding clear authority to create an independent counsel:

       We have no difficulty concluding that the Attorney General possessed the
       statutory authority to create the Office of Independent Counsel:
       Iran/Contra and to convey to it the “investigative and prosecutorial
       functions and powers” described in 28 C.F.R. § 600.1(a) of the regulation.
       The statutory provisions relied upon by the Attorney General in
       promulgating the regulation are 5 U.S.C. § 301 and 28 U.S.C. §§ 509, 510,
       and 515.

Id. While noting that the provisions do not “explicitly authorize the Attorney General

to create an Office of Independent Counsel virtually free of ongoing supervision,” the

Court “read them as accommodating the delegation at issue here.” Id.7 In finding the

power to “create” the independent counsel’s office, Sealed Case necessarily found

authority to “appoint” an independent counsel. See id. at 56 (“The Attorney General’s

power of appointment extends only to the Department of Justice; hence the Office of


7
  The Concord district court interpreted Sealed Case to say that that the statutes “do not
explicitly authorize” the appointment of a special counsel. See 317 F. Supp. 3d at 622. But
Sealed Case did not say that; it said only that the statutes “do not explicitly authorize”
the creation of an office “virtually free of ongoing supervision.” 829 F.2d at 55 (emphasis
added).

                                            33
USCA Case #18-3052         Document #1753195              Filed: 09/28/2018      Page 46 of 71



Independent Counsel: Iran/Contra is ‘within’ the Department, though free of ongoing

supervision by the Attorney General.”).

       Miller and Concord argue that Walsh’s earlier appointment under the Ethics in

Government Act made him a Department of Justice official, and thus that Sealed Case

does not contemplate appointing a private attorney. See Br. 13-14; Concord Br. 20-21,

23-24. But that argument presumes that Walsh’s appointment under the Ethics in

Government Act was valid. Sealed Case expressly declined to resolve that issue. See, e.g.,

829 F.2d at 51, 54, 59, 61-62. Indeed, the entire purpose of giving Walsh a new and

parallel appointment was to avoid a constitutional attack on the Act. See id. at 52. Sealed

Case validated that decision by treating the Attorney General’s appointment as a

freestanding and independent basis for Walsh to act.

       The Supreme Court’s decision in Edmond casts no doubt on Sealed Case’s statutory

holding. Cf. Concord Br. 24-25. Edmond held that a statute granting the power to

“assign” military officers does not grant the power to “appoint” them. 520 U.S. at

657-58.     Section 515(b)’s delegation, by contrast, speaks of “retain[ing]” and

“commission[ing]” special attorneys—words akin to “appointing” (not “assigning”).

See Part II.B.1, infra; see also Burnap v. United States, 252 U.S. 512, 515, 518 (1920) (statute

authorizing department head to “employ” specified positions “confer[s] the power of

appointment”).      And Section 533 explicitly empowers the Attorney General to

“appoint” officials.



                                              34
USCA Case #18-3052        Document #1753195             Filed: 09/28/2018     Page 47 of 71



       Nixon and Sealed Case control the outcome here. Those cases hold that 28 U.S.C.

§§ 509, 510, 515, and 533 give the Attorney General the authority to appoint and

delegate criminal law enforcement functions in particular matters to a special counsel.

Here, the Acting Attorney General exercised that statutory authority to appoint the

Special Counsel, whose mandate is, for these purposes, indistinguishable from those

approved in Nixon and Sealed Case.

       B.     Multiple statutes establish the Attorney General’s authority

              1. The text of two statutes grants the Attorney General power to
                 appoint special counsels

       a.   Section 515 gives the Attorney General authority to appoint “special

attorneys” like the Special Counsel. Section 515(b) empowers the Attorney General to

“commission[]” attorneys who are “specially retained under authority of the

Department of Justice” as “special assistant[s] to the Attorney General” or “special

attorney[s].” 28 U.S.C. § 515(b). “[S]pecially retained under authority of the Department of

Justice” necessarily means specially retained by the Attorney General, who is head of the

Department of Justice and vested with all of its functions and powers. See 28 U.S.C.

§§ 503, 509. Further, the commission is the “warrant or authority * * * issuing from

the government * * * empowering a person or persons named to do certain acts, or to

exercise jurisdiction, or to perform the duties and exercise the authority of an office.”

H. Campbell Black, A Dictionary of Law 226 (1st ed. 1891); see also Black’s Law Dictionary

327 (10th ed. 2014) (similar); Department of Transp. v. Association of Am. R.R., 135 S. Ct.


                                            35
USCA Case #18-3052        Document #1753195             Filed: 09/28/2018      Page 48 of 71



1225, 1235 (2015) (Alito, J., concurring) (“to be an officer, the person should have

sworn an oath and possess a commission”). As Marbury v. Madison, 5 U.S. (1 Cranch)

137, 157 (1803), recognized, “the constitutional power of appointment has been

exercised * * * when the last act, required from the person possessing the power, has

been performed. This last act is the signature of the commission.” Section 515(b) thus

allows the Attorney General to appoint special attorneys by retaining them and

commissioning them to vest them with authority.

       Section 515(a) further recognizes that the Attorney General can “specially

appoint[]” attorneys “under law” and empower them to exercise, “when specifically

directed by the Attorney General,” all criminal (and civil) powers possessed by United

States Attorneys. Congress thus specified not only that the Attorney General could

appoint special attorneys under law, but also that he could give special attorneys

extensive powers.

       Concord responds that “specially retained” is a past participle and thus “refers

to an attorney already retained.” Concord Br. 3, 5-6. But while “specially retained” is

indeed a past-participle phrase modifying “attorney,” “[p]ast participles * * * are

routinely used as adjectives to describe the present state of a thing.” Henson v. Santander

Consumer USA Inc., 137 S. Ct. 1718, 1722 (2017); see also id. (“the term ‘past participle’ is

a ‘misnomer, since’ it ‘can occur in what is technically a present tense’” (quoting P.

Peters, The Cambridge Guide to English Usage 409 (2004)) (alternations omitted)). As the

district court below explained, “the term ‘attorney specially retained’ can mean either

                                             36
USCA Case #18-3052         Document #1753195           Filed: 09/28/2018    Page 49 of 71



‘attorney who is now specially retained’ or ‘attorney who previously had been specially

retained.’” C71 (emphasis in original).

         Only the “is now” retained construction fits the history of Section 515. See Part

II.B.2, infra. And only the “is now” retained construction matches the main verbs in

the statute, which are in the present tense: the specially appointed attorney “may * * *

conduct” legal proceedings, and the attorney “shall be commissioned” with a title and

“shall take the oath.” (“[S]hall be commissioned” is the passive-voice construction of

“shall commission” and is thus in the present tense. Cf. Concord Br. 5.) And those

present-tense actions should occur together with the appointment, since it makes little

sense to “appoint” a special attorney who has no commission or title, who has not taken

the oath of office, and who has no power to act.

         Interpreting Section 515(b) to grant appointment authority does not risk turning

the phrases “under authority of the Department of Justice” in Section 515(b) or “under

law” in Section 515(a) into surplusage. Cf. Concord Br. 3, 6; Concord, 317 F. Supp. 3d

at 621. Section 515(b)’s predecessor was enacted in 1870 as part of a scheme to bring

the federal government’s legal work into the Department of Justice. See Part II.B.2,

infra.   Requiring that an attorney be specially retained “under authority of the

Department of Justice” clarified that other agencies could not retain special attorneys.

Section 515(a)’s predecessor was enacted decades later in a freestanding statute. See id.

“Under law” in Section 515(a) refers back to Section 515(b) (along with other laws, like

Section 533, granting appointment authority).

                                            37
USCA Case #18-3052       Document #1753195            Filed: 09/28/2018    Page 50 of 71



      Finally, Section 515(a)’s reference to “any other officer of the Department of

Justice, or any attorney specially appointed by the Attorney General under law” does

not imply that a “specially appointed” attorney cannot be an “officer of the Department

of Justice.” Nor do similar phrasings in the statutory and legislative history. Cf.

Concord Br. 7 & n.2. It is common for provisions of a statute to “overlap substantially

but not completely.” Shaw v. United States, 137 S. Ct. 462, 468-469 (2016). Here,

although the two categories may partially overlap, not every special attorney is

necessarily an officer, and certainly not every officer of the Department of Justice is a

special attorney. Since each phrase captures a situation that the other phrase does not,

Congress needed to list the two groups separately.

      b. Authority for the Attorney General’s appointment power also comes from

Section 533. Section 533 specifically confirms that “[t]he Attorney General may

appoint officials—(1) to detect and prosecute crimes against the United States.” 28

U.S.C. § 533. This description aligns perfectly with a Special Counsel, who combines

the typical roles of law enforcement and prosecutors by both investigating and

prosecuting crimes. See 28 C.F.R. § 600.1. In Edmond, the Supreme Court located the

power to appoint Coast Guard judges—who were “inferior Officers”—in a “default

statute” that allowed the Secretary of Transportation to “appoint and fix the pay of

officers and employees of the Department of Transportation.” 520 U.S. at 656-658,

666 (quoting 49 U.S.C. § 323(a)). Section 533 is far more specific.



                                           38
USCA Case #18-3052        Document #1753195             Filed: 09/28/2018     Page 51 of 71



       Concord offers two counterarguments. It first objects that Section 533 refers to

appointing “officials”—not “officers”—which “can refer to a ‘mere employee,

functionary, or agent.’” Concord Br. 10 (quoting Concord, 317 F. Supp. 3d at 619). But

“official” is a term that naturally encompasses officers. The Supreme Court’s Lucia

opinion illustrates that point by stating that “[t]he Appointments Clause of the

Constitution lays out the permissible methods of appointing ‘Officers of the United

States,’ a class of government officials distinct from mere employees.” 138 S. Ct. at 2049

(emphasis added). Many other cases employ the same usage of “official.” See, e.g., Ortiz

v. United States, 138 S. Ct. 2165, 2183 (2018); Morrison, 487 U.S. at 672; Buckley, 424 U.S.

at 131; Eaton, 169 U.S. at 343-344. And interpreting “officials” in Section 533 to include

officers does not contradict Congress’s use of the term “officer” in other statutes. Cf.

Concord Br. 10-11 (citing Concord, 317 F. Supp. 3d at 619). Rather, as Lucia suggests,

“official” is a generic term that covers both officers and employees. See C69; see also,

e.g., 18 U.S.C. § 201(a)(1) (“public official” includes “an officer or employee or person

acting for or on behalf of the United States”).

       Second, Concord and Miller point to Section 533’s placement in a chapter titled

“Federal Bureau of Investigation.” Concord Br. 11-13; Miller Br. 9-10. But “the title

of a statute cannot limit the plain meaning of the text” and matters “[f]or interpretive

purposes” “only when it sheds light on some ambiguous word or phrase.” Pennsylvania

Dep’t of Corr. v. Yeskey, 524 U.S. 206, 212 (1998) (brackets, ellipsis, and alterations

omitted). And there is no textual hint that Section 533(1) is limited to FBI officials. To

                                            39
USCA Case #18-3052        Document #1753195             Filed: 09/28/2018      Page 52 of 71



the contrary, Section 533(1) allows the appointment of officials “to detect and prosecute

crimes”; and “only attorneys prosecute crime.” C69; see also, e.g., 28 U.S.C. § 547(1)

(U.S. Attorney shall “prosecute for all offenses against the United States” in her district).

       Concord argues that subsections (2) through (4) of Section 533 suggest that

Section 533(1) covers only FBI officials. Concord Br. 11-12. Those subsections allow

the appointment of officials to (2) protect the President, (3) protect the Attorney

General, and (4) conduct other investigations on official matters. But like subsection

(1), the other subsections give no indication that they are limited to the FBI. Indeed,

district courts have read Section 533 to allow appointment of Bureau of Alcohol,

Tobacco, Firearms, and Explosives (“ATF”) officials—a result that Concord embraces

as “fully consistent” with its own interpretation. Concord Br. 11 n.3; see United States v.

Hasan, 846 F. Supp. 2d 541, 546 n.7 (E.D. Va. 2012), aff’d, 718 F.3d 338 (4th Cir. 2013);

United States v. Fortuna, 2013 WL 1737215, at *2 n.8 (D.N.J. Apr. 22, 2013). But if

Section 533 allows the appointment of ATF officials, it clearly is not limited to FBI

officials, and Concord’s efforts to cabin the unambiguous text of Section 533(1) fail.8




8
  Miller and Concord have abandoned their argument—rejected by the district court
below—that the Appointments Clause demands a clear statement to delegate
appointment authority to department heads. See C77-80. Miller alludes to a need for
“express and specific statutory language authorizing [the] appointment” only in a
footnote, Br. 8 n.3—an insufficient way to preserve an argument. See CTS Corp. v. EPA,
759 F.3d 52, 64 (D.C. Cir. 2014). In any event, a clear-statement rule makes no
difference here, as both Sections 533 and 515(b) would easily satisfy it.

                                             40
USCA Case #18-3052        Document #1753195            Filed: 09/28/2018     Page 53 of 71



             2. Section 515’s history confirms that it provides appointment
                power

      The history of Section 515 removes any question that it authorizes the Attorney

General to appoint special attorneys such as the Special Counsel. The district court

below described the statutory history in detail, see C4-C11, C72-C76, and the

government’s brief described the extensive reliance by past Attorneys General on

special counsels, see Doc. 32-2, at 20-23. For present purposes, that history establishes

four significant propositions.

      First, although Title 28 of the U.S. Code now groups Section 515(a) and (b)

together, Congress originally enacted their predecessors decades apart, in separate laws.

The precursor to Section 515(b) came first, enacted in 1870 in the statute that created

the Department of Justice. See An Act to establish the Department of Justice, ch. 150,

§ 17, 16 Stat. 162, 164-165 (1870). The 1870 Act centralized the federal government’s

legal work in the Department of Justice and—in response to abuses in the hiring of

outside counsel as special attorneys—limited the circumstances in which the Attorney

General could pay them. Id. §§ 3, 17, 16 Stat. at 162, 164-165; see In re Persico, 522 F.2d

41, 57-58 (2d Cir. 1975). As the Supreme Court later explained, however, the 1870 Act

limited the Attorney General’s discretion to retain special attorneys by restricting their

compensation, while leaving it to the Attorney General “to determine whether the

public interests required the employment of special counsel.” United States v. Crosthwaite,




                                            41
USCA Case #18-3052       Document #1753195            Filed: 09/28/2018     Page 54 of 71



168 U.S. 375, 379-380 (1897); see also United States v. Winston, 170 U.S. 522, 524-525

(1898) (the Attorney General may, “if he deems it essential, employ special counsel”).

      Second, the statute now codified as Section 515(a) was enacted in 1906, in order

to validate a special counsel’s authority to conduct grand jury proceedings, after the

district court in United States v. Rosenthal, 121 F. 862 (C.C.S.D.N.Y. 1903), ruled that a

special assistant to the Attorney General could not do so. Congress responded with a

law whose “express purpose * * * was to overrule the broad holding in Rosenthal,”

explicitly giving “specially-retained outside counsel” all of the powers of a U.S.

Attorney. In re Persico, 522 F.2d at 59. The House Report accompanying the 1906 Act

explained that “[t]here can be no doubt of the advisability of permitting the Attorney-

General to employ special counsel in special cases.” H.R. Rep. No. 2901, 59th Cong.,

1st. Sess. 2 (1906). The purpose of the new law was to overrule Rosenthal and restore a

special counsel’s power to appear before the grand jury: “It seems eminently proper

that such powers and authority be given by law. It has been the practice to do so in the

past and it will be necessary that the practice shall continue in the future.” Id. The law

would have had no effect if the Attorney General could not already retain special

counsel—which would contradict the presumption that Congress intends an

amendment “to have real and substantial effect.” Ross v. Blake, 136 S. Ct. 1850, 1858

(2016) (internal quotation marks omitted); see C75.

      Third, subsequent enactments confirm the Attorney General’s appointment

authority. In 1930, Congress amended the precursor to Section 515(b) (then codified

                                           42
USCA Case #18-3052       Document #1753195            Filed: 09/28/2018    Page 55 of 71



at 5 U.S.C. § 315) to allow the Attorney General to designate “special attorneys” in

addition to “special assistants to the Attorney General.” See Act of Apr. 17, 1930, ch.

174, Pub. L. No. 71-133, 46 Stat. 170. Congress returned to the statute again in 1948,

simplifying its wording. See Act of June 25, 1948, Pub. L. No. 80-773, § 3, 62 Stat. 869,

985-986. Despite the widespread use of special counsels before these enactments, see

pp. 43-44, infra, Congress never questioned the Attorney General’s power of

appointment. To the contrary, the House Report accompanying the 1930 amendment

acknowledged that power. H.R. Rep. No. 229, 71st Cong., 2d. Sess. 1 (1930).

      Fourth, drawing on the authority to retain counsel originally conferred in 1870,

past Attorneys General have “made extensive use of special attorneys.” Persico, 522

F.2d at 54. These instances—involving appointments by Attorneys General under

Presidents Garfield, Theodore Roosevelt, Truman, Kennedy, Nixon, Carter, George

H.W. Bush, and Clinton—span nearly 140 years and include some of the most

notorious scandals in the Nation’s history, including Watergate. See Doc. 32-2, at 20-

23. Congress has also long demonstrated its understanding that the Attorney General

has authority to appoint special counsels by repeatedly appropriating funds for the

Attorney General to compensate them. See, e.g., Act of Aug. 30, 1890, ch. 837, 26 Stat.

371, 409-410; Act of Mar. 3, 1891, ch. 542, 26 Stat. 948, 986; Act of Mar. 3, 1901, ch.

853, 31 Stat. 1133, 1181-1182; Act of Feb. 25, 1903, Pub. L. No. 57-115, 32 Stat. 854,

903-904; Act of Mar. 4, 1921, Pub. L. No. 66-389, 41 Stat. 1367, 1412; Act of June 3,

1948, Pub. L. 80-597, 62 Stat. 305, 317. And published opinions of the Attorney

                                           43
USCA Case #18-3052         Document #1753195              Filed: 09/28/2018      Page 56 of 71



General, for more than a century, have recognized that authority. See Assignment of Army

Lawyers to the Department of Justice, 10 Op. O.L.C. 115, 117 n.3 (1986); Application of Conflict

of Interest Rules to the Conduct of Government Litigation by Private Attorneys, 4B Op. O.L.C.

434, 442-443 & n.5 (1980) (Appendix); Naval Court-Martial, 18 Op. Att’y Gen. 135, 136

(1885).

       Miller and Concord offer no real response to this statutory history and consistent

endorsement of appointment power by all three branches of government. They point

only to three later enactments that explicitly provide for appointment of special

counsels, suggesting that these statutes would be superfluous if Section 515 allowed

appointment of special counsels. See Concord Br. 7-9. The district court explained why

that superfluity argument fails. C80-C83. Two of those statutes vested the power to

appoint a special counsel in actors other than the Attorney General. A 1924 joint

resolution authorized the President to appoint a special counsel, with advice and

consent of the Senate. S.J. Res. No. 54, Feb. 8, 1924, 43 Stat. 5, 6. And the now-lapsed

Ethics in Government Act directed the Attorney General to ask a division of the D.C.

Circuit to appoint an independent “special prosecutor” (later renamed an “independent

counsel”). See Pub. L. No. 95-521, §§ 601-602, 92 Stat. 1824 (codified at 28 U.S.C.

§§ 49, 591-597).

       Concord’s other cited statute, the Payne-Aldrich Tariff Act of 1909, allowed the

Attorney General to “employ and retain * * * special attorneys and counselors at law

in the conduct of customs cases.” Ch. 6, § 28, 36 Stat. 11, 108. The appointment

                                              44
USCA Case #18-3052        Document #1753195             Filed: 09/28/2018     Page 57 of 71



authority under the Payne-Aldrich Tariff Act is similar to Section 515, but that lone

example casts no doubt on the Attorney General’s authority under other provisions.

The Act created a new U.S. Court of Customs Appeals and approved a new Assistant

Attorney General and five additional attorneys to represent the government in the

classification and litigation work that was sure to accompany new tariffs. 36 Stat. at

108. Given those innovations, it is not surprising that Congress explicitly provided the

Attorney General with authority to staff the new division. But that singular instance of

overlapping appointment authority does not imply that Section 515 provided none.

Connecticut Nat’l Bank v. Germain, 503 U.S. 249, 253-254 (1992) (“Redundancies across

statutes are not unusual events in drafting, and so long as there is no ‘positive

repugnancy’ between two laws, a court must give effect to both.”) (citation omitted).

III.   The Acting Attorney General Had Authority To Appoint The Special
       Counsel

       Finally, Miller argues that the Deputy Attorney General lacked authority to

appoint the Special Counsel, even though the Attorney General had recused himself

from the Russia investigation. See Br. 32-44. Miller’s argument would mean that, in

cases of recusal, no law places the Deputy Attorney General atop the Department of

Justice, acting as the head of the Department. That is incorrect.

       A. Initially, an acting “Head[] of Department” may make appointments under

the Appointments Clause. That proposition follows the principle that “[a]n acting

officer is vested with the full authority of the officer for whom he acts.” Acting Officers,


                                            45
USCA Case #18-3052        Document #1753195            Filed: 09/28/2018     Page 58 of 71



6 Op. O.L.C. 119, 120 (1982) (citing Keyser v. Hitz, 133 U.S. 138, 145-146 (1890); Ryan

v. United States, 136 U.S. 68, 81 (1890)). Miller does not seem to disagree.      And 28

U.S.C. § 508(a) provides that “[i]n case of a vacancy in the office of Attorney General,

or of his absence or disability, the Deputy Attorney General may exercise all the duties

of that office.” Here, the Deputy Attorney General became Acting Attorney General

for campaign-related matters when the Attorney General, as required, recused himself.9

A recusal constitutes a “disability” for purposes of Section 508(a). And an “acting

officer” is “[o]ne performing the duties of an office—usu. temporarily—but who has no

claim of title to the office.” Black’s Law Dictionary 1257 (10th ed. 2014) (emphasis

added); see also C84-C86. Thus, if the Attorney General has a “disability” under Section

508, the Deputy Attorney General can make appointments as the “acting” Attorney

General for the relevant matter.



9
   Recusal is mandatory under Section 528, which compels the Attorney General to
promulgate rules “which require the disqualification of any officer or employee of the
Department of Justice” when participation in a prosecution or investigation “may result
in a personal, financial, or political conflict of interest, or the appearance thereof.” 28
U.S.C. § 528 (emphasis added); see 28 C.F.R. § 45.2(a) (barring participation based on
certain “personal or political relationship[s]”). As noted (see p. 4, supra), the Attorney
General recused himself from any “investigations of any matters related in any way to
the campaigns for President of the United States.” He later informed the Senate Select
Committee on Intelligence that he recused himself “because a Department of Justice
regulation, 28 CFR 45.2, required it.” Attorney General Jeff Sessions Prepared Remarks
to the United States Senate Select Committee on Intelligence (June 13, 2017), available
at      https://www.justice.gov/opa/speech/attorney-general-jeff-sessions-prepared-
remarks-united-states-senate-select-committee.


                                            46
USCA Case #18-3052         Document #1753195             Filed: 09/28/2018     Page 59 of 71



        B. Miller disagrees (Br. 33) that Section 508(a) makes the Deputy Attorney

General an “acting” officer, arguing that “acting” status can come only from the Federal

Vacancies Reform Act. See 5 U.S.C. § 3345. While that Act provides the default mode

of creating acting officers, other statutes may also create acting officers by “designat[ing]

an officer or employee to perform the functions and duties of a specified office

temporarily in an acting capacity.” 5 U.S.C. § 3347(a)(1)(B). Section 508 is such a

statute, giving separate authority for “an ‘acting’ officer authorized to perform all of the

duties and exercise all of the powers of that office.” Noel Canning v. NLRB, 705 F.3d

490, 511 (D.C. Cir. 2013), aff’d on other grounds, 134 S. Ct. 2550 (2014); see C86-C87;

S. Rep. No. 250, 105th Cong., 2d Sess. 16 (1998) (listing Section 508(a)); see also United

States v. Hasarafally, 529 F.3d 125, 127 (2d Cir. 2008); United States v. Guzek, 527 F.2d

552, 559-560 (8th Cir. 1975); United States v. McCoy, 515 F.2d 962, 963 (5th Cir. 1975);

United States v. Pellicci, 504 F.2d 1106, 1107 (1st Cir. 1974).

       C. Miller wrongly claims that “disability” cannot encompass recusal, suggesting

that the term is limited to being “physically incapacitated or hospitalized in intensive

care.” Br. 33-34, 36-41. Properly construed, however, disability includes a legal

incapacity that prevents the Attorney General from performing his functions. Modern

dictionaries define “disability” as “[t]he inability to perform some function.” Black’s

Law Dictionary 559 (10th ed. 2014) (def. 1). This includes “a disqualification, restriction,

or disadvantage” and “lack of legal qualification to do something,” Merriam-Webster’s

Dictionary   Online     (defs.   3     &    4),    available      at   https://www.merriam-

                                              47
USCA Case #18-3052        Document #1753195              Filed: 09/28/2018     Page 60 of 71



webster.com/dictionary/disability, and “[i]ncapacity in the eye of the law, or created by

the law * * * legal disqualification,” Oxford English Dictionary Online (def. 3), available at

http://www.oed.com/view/Entry/53381.

       Dictionaries from the time of the enactment of Section 508’s predecessor

confirm that meaning. The phrasing of Section 508 derives from the 1870 Act creating

the Department of Justice, which provided that “[i]n case of a vacancy in the office of

Attorney-General, or in his absence or disability, [the solicitor-general] shall have power

to exercise all duties of that office.” An Act to establish the Department of Justice, ch.

150, § 2, 16 Stat. 162, 162 (1870) (later codified at U.S. Rev. Stat. 1878, § 347).

Dictionaries at the time defined the term “disability” in a fashion that encompasses

recusal. See H. Campbell Black, A Dictionary of Law 370-371 (1891); see also C87-C88 &

n.49 (collecting other dictionaries from that time).

       Miller argues that a “disability” must prevent the Attorney General from acting

in all cases, because Section 508(a) says that “the Deputy Attorney General may exercise

all the duties of that office.” 28 U.S.C. § 508(a) (emphasis added); see Br. 33-34, 36-38

(citing Moog Inc. v. United States, 1991 WL 46518 (W.D.N.Y. Apr. 1, 1991)). But Section

508(a) provides only that the Deputy Attorney General “may” exercise those duties.

“The permissive term ‘may’ means that the DAG need not assume all of the Attorney

General’s duties where only a limited conflict of interest exists.” C89.

       D.    Ample authority supports this interpretation of Section 508.                The

longstanding view of the Office of Legal Counsel is that if the Attorney General is

                                             48
USCA Case #18-3052         Document #1753195             Filed: 09/28/2018      Page 61 of 71



recused, he is disabled from participating in matters covered by his recusal. See

Congressional Subpoenas of Department of Justice Investigative Files, 8 Op. O.L.C. 252, 255 n.3

(1984) (“As a matter of practice and statutory construction, the Department has treated

the Attorney General’s recusal from a matter as the equivalent of a disability. Under

the departmental succession statute, the Deputy Attorney General becomes Acting

Attorney General with respect to the matter. See 28 U.S.C. § 508.”). And the only

other court to consider this precise question appeared to agree. See Libby, 429 F. Supp.

2d at 31.

       This interpretation of Section 508 is also consistent with judicial interpretations

of Federal Rule of Criminal Procedure 25(a) (“Judge’s Disability”), which states that if

a judge cannot proceed with trial “because of death, sickness, or other disability,”

another judge in the same court may complete the trial. Fed. R. Crim. P. 25(a)(1). At

least four other circuits have interpreted the word “disability” in that rule to include

recusal. See In re United States, 614 F.3d 661, 662 (7th Cir. 2010); United States v. Hall, 171

F.3d 1133, 1153 (8th Cir. 1999); United States v. Sartori, 730 F.2d 973, 976 (4th Cir. 1984);

Bennett v. United States, 285 F.2d 567, 572 (5th Cir. 1960). 10


10
   In United States v. Jaramillo, 745 F.2d 1245, 1249 (9th Cir. 1984), the Ninth Circuit did
not question that the word “disability” could encompass recusal, but concluded that a
judge whose recusal was prompted by his own indictment did not abuse his discretion
by failing to invoke Rule 25(a) because the questions the indictment raised about his
fitness as a judge cast doubt on all of the prior proceedings. That rationale has no
application here. See C90.



                                              49
USCA Case #18-3052       Document #1753195           Filed: 09/28/2018    Page 62 of 71



      E. Finally, interpreting “disability” under Section 508 to include recusal makes

logical and practical sense. Section 528 requires the Attorney General to recuse himself

when he has a conflict of interest. Section 508 ensures that at all times an officer is

heading the Department of Justice. If the Attorney General is recused, it is necessary

that someone can head the Department for that investigation. It is inconceivable that

Congress intended Section 508 to reach physical disability, but not to reach legal

requirements that disabled the Attorney General from participating in certain matters.

                                  CONCLUSION

      The judgment of the district court should be affirmed.

                                               Respectfully submitted,


                                               ROBERT S. MUELLER, III
                                                Special Counsel

                                               By: /s/
                                               MICHAEL R. DREEBEN
                                               JEANNIE S. RHEE
                                               ADAM C. JED
                                                U.S. Department of Justice
                                                Special Counsel’s Office
                                                950 Pennsylvania Avenue NW
                                                Washington, D.C. 20530
                                                Telephone: (202) 616-0800

SEPTEMBER 2018




                                          50
USCA Case #18-3052      Document #1753195            Filed: 09/28/2018   Page 63 of 71



                       CERTIFICATE OF COMPLIANCE

      I hereby certify that that this brief complies with the requirements of Fed. R.

App. P. 32(a)(5) and (6) because it has been prepared in 14-point Garamond, a

proportionally spaced font. I further certify that this brief complies with the type-

volume limitation of Fed. R. App. P. 32(a)(7)(B) because it contains 12,907 words,

excluding the parts of the brief exempted under Rule 32(a)(7)(B)(iii), according to the

count of Microsoft Word.

                                              /s/ Michael Dreeben
                                              Michael R. Dreeben
USCA Case #18-3052      Document #1753195            Filed: 09/28/2018    Page 64 of 71



                          CERTIFICATE OF SERVICE

      I hereby certify that on September 28, 2018, I electronically filed and served the

foregoing brief through the Court’s CM/ECF system.

                                              /s/ Michael Dreeben
                                              Michael R. Dreeben
USCA Case #18-3052   Document #1753195   Filed: 09/28/2018   Page 65 of 71




                     ADDENDUM
USCA Case #18-3052                    Document #1753195                          Filed: 09/28/2018               Page 66 of 71



                               ADDENDUM TABLE OF CONTENTS


Constitutional Provision                                                                                                  Page

The Appointments Clause, U.S. Const. Art. II, § 2, cl. 2 ......................................... Add. 1

Statutes

28 U.S.C. § 508............................................................................................................... Add. 1

28 U.S.C. § 509............................................................................................................... Add. 1

28 U.S.C. § 510............................................................................................................... Add. 1

28 U.S.C. § 515............................................................................................................... Add. 2

28 U.S.C. § 533............................................................................................................... Add. 2

Regulation

28 C.F.R. Part 600 (excerpts) ....................................................................................... Add. 3

          28 C.F.R. § 600.4 ................................................................................................ Add. 3

          28 C.F.R. § 600.7 ................................................................................................ Add. 3

          28 C.F.R. § 600.8 ................................................................................................ Add. 4
USCA Case #18-3052      Document #1753195            Filed: 09/28/2018   Page 67 of 71



The Appointments Clause, U.S. Const. Art. II, § 2, cl. 2

[The President] * * * shall nominate, and by and with the Advice and Consent of the
Senate, shall appoint Ambassadors, other public Ministers and Consuls, Judges of the
supreme Court, and all other Officers of the United States, whose Appointments are
not herein otherwise provided for, and which shall be established by Law: but the
Congress may by Law vest the Appointment of such inferior Officers, as they think
proper, in the President alone, in the Courts of Law, or in the Heads of Departments.

28 U.S.C. § 508. Vacancies

(a) In case of a vacancy in the office of Attorney General, or of his absence or
disability, the Deputy Attorney General may exercise all the duties of that office, and
for the purpose of section 3345 of title 5 the Deputy Attorney General is the first
assistant to the Attorney General.

(b) When by reason of absence, disability, or vacancy in office, neither the Attorney
General nor the Deputy Attorney General is available to exercise the duties of the
office of Attorney General, the Associate Attorney General shall act as Attorney
General. The Attorney General may designate the Solicitor General and the Assistant
Attorneys General, in further order of succession, to act as Attorney General.

28 U.S.C. § 509. Functions of the Attorney General

All functions of other officers of the Department of Justice and all functions of
agencies and employees of the Department of Justice are vested in the Attorney
General except the functions—
   (1) vested by subchapter II of chapter 5 of title 5 in administrative law judges
   employed by the Department of Justice;
   (2) of the Federal Prison Industries, Inc.; and
   (3) of the Board of Directors and officers of the Federal Prison Industries, Inc.

28 U.S.C. § 510. Delegation of authority

The Attorney General may from time to time make such provisions as he considers
appropriate authorizing the performance by any other officer, employee, or agency of
the Department of Justice of any function of the Attorney General.




                                        Add. 1
USCA Case #18-3052       Document #1753195           Filed: 09/28/2018    Page 68 of 71



28 U.S.C. § 515. Authority for legal proceedings; commission, oath, and salary
for special attorneys

(a) The Attorney General or any other officer of the Department of Justice, or any
attorney specially appointed by the Attorney General under law, may, when
specifically directed by the Attorney General, conduct any kind of legal proceeding,
civil or criminal, including grand jury proceedings and proceedings before committing
magistrate judges, which United States attorneys are authorized by law to conduct,
whether or not he is a resident of the district in which the proceeding is brought.

(b) Each attorney specially retained under authority of the Department of Justice shall
be commissioned as special assistant to the Attorney General or special attorney, and
shall take the oath required by law. Foreign counsel employed in special cases are not
required to take the oath. The Attorney General shall fix the annual salary of a special
assistant or special attorney.

28 U.S.C. § 533. Investigative and other officials; appointment

The Attorney General may appoint officials—
   (1) to detect and prosecute crimes against the United States;
   (2) to assist in the protection of the person of the President; and
   (3) to assist in the protection of the person of the Attorney General.
   (4) to conduct such other investigations regarding official matters under the
   control of the Department of Justice and the Department of State as may be
   directed by the Attorney General.
This section does not limit the authority of departments and agencies to investigate
crimes against the United States when investigative jurisdiction has been assigned by
law to such departments and agencies.




                                        Add. 2
USCA Case #18-3052        Document #1753195             Filed: 09/28/2018      Page 69 of 71



28 C.F.R. Part 600—General Powers of Special Counsel

***

§ 600.4. Jurisdiction

(a) Original jurisdiction. The jurisdiction of a Special Counsel shall be established by the
Attorney General. The Special Counsel will be provided with a specific factual
statement of the matter to be investigated. The jurisdiction of a Special Counsel shall
also include the authority to investigate and prosecute federal crimes committed in the
course of, and with intent to interfere with, the Special Counsel’s investigation, such
as perjury, obstruction of justice, destruction of evidence, and intimidation of
witnesses; and to conduct appeals arising out of the matter being investigated and/or
prosecuted.

(b) Additional jurisdiction. If in the course of his or her investigation the Special Counsel
concludes that additional jurisdiction beyond that specified in his or her original
jurisdiction is necessary in order to fully investigate and resolve the matters assigned,
or to investigate new matters that come to light in the course of his or her
investigation, he or she shall consult with the Attorney General, who will determine
whether to include the additional matters within the Special Counsel’s jurisdiction or
assign them elsewhere.

(c) Civil and administrative jurisdiction. If in the course of his or her investigation the
Special Counsel determines that administrative remedies, civil sanctions or other
governmental action outside the criminal justice system might be appropriate, he or
she shall consult with the Attorney General with respect to the appropriate
component to take any necessary action. A Special Counsel shall not have civil or
administrative authority unless specifically granted such jurisdiction by the Attorney
General.

***

§ 600.7. Conduct and accountability

(a) A Special Counsel shall comply with the rules, regulations, procedures, practices
and policies of the Department of Justice. He or she shall consult with appropriate
offices within the Department for guidance with respect to established practices,
policies and procedures of the Department, including ethics and security regulations
and procedures. Should the Special Counsel conclude that the extraordinary
circumstances of any particular decision would render compliance with required
                                          Add. 3
USCA Case #18-3052       Document #1753195           Filed: 09/28/2018    Page 70 of 71



review and approval procedures by the designated Departmental component
inappropriate, he or she may consult directly with the Attorney General.

(b) The Special Counsel shall not be subject to the day-to-day supervision of any
official of the Department. However, the Attorney General may request that the
Special Counsel provide an explanation for any investigative or prosecutorial step, and
may after review conclude that the action is so inappropriate or unwarranted under
established Departmental practices that it should not be pursued. In conducting that
review, the Attorney General will give great weight to the views of the Special
Counsel. If the Attorney General concludes that a proposed action by a Special
Counsel should not be pursued, the Attorney General shall notify Congress as
specified in § 600.9(a)(3).

(c) The Special Counsel and staff shall be subject to disciplinary action for misconduct
and breach of ethical duties under the same standards and to the same extent as are
other employees of the Department of Justice. Inquiries into such matters shall be
handled through the appropriate office of the Department upon the approval of the
Attorney General.

(d) The Special Counsel may be disciplined or removed from office only by the
personal action of the Attorney General. The Attorney General may remove a Special
Counsel for misconduct, dereliction of duty, incapacity, conflict of interest, or for
other good cause, including violation of Departmental policies. The Attorney General
shall inform the Special Counsel in writing of the specific reason for his or her
removal.

§ 600.8. Notification and reports by the Special Counsel

(a) Budget.

   (1) A Special Counsel shall be provided all appropriate resources by the
   Department of Justice. Within the first 60 days of his or her appointment, the
   Special Counsel shall develop a proposed budget for the current fiscal year with
   the assistance of the Justice Management Division for the Attorney General’s
   review and approval. Based on the proposal, the Attorney General shall establish a
   budget for the operations of the Special Counsel. The budget shall include a
   request for assignment of personnel, with a description of the qualifications
   needed.

   (2) Thereafter, 90 days before the beginning of each fiscal year, the Special
   Counsel shall report to the Attorney General the status of the investigation, and
                                        Add. 4
USCA Case #18-3052        Document #1753195             Filed: 09/28/2018      Page 71 of 71



   provide a budget request for the following year. The Attorney General shall
   determine whether the investigation should continue and, if so, establish the
   budget for the next year.

(b) Notification of significant events. The Special Counsel shall notify the Attorney General
of events in the course of his or her investigation in conformity with the
Departmental guidelines with respect to Urgent Reports.

(c) Closing documentation. At the conclusion of the Special Counsel’s work, he or she
shall provide the Attorney General with a confidential report explaining the
prosecution or declination decisions reached by the Special Counsel.

***




                                          Add. 5
